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                      UNITED STATES DISTRICT COURT

                           DISTRICT OF OREGON

                            PORTLAND DIVISION


KIP O‘CONNOR et al,
                                               Case No. CV 11-1297 SI
                 Plaintiffs,
                                               COUNTY DEFENDANTS‘
                 v.                            MEMORANDUM OF LAW IN
                                               SUPPORT OF MOTION TO DISMISS
CLACKAMAS COUNTY et al,                        PURSUANT TO FED.R.CIV.P. 12(b)(6)
                                               AND THE OREGON TORT CLAIMS
                                               ACT FILED ON BEHALF OF
                 Defendants.                   CLACKAMAS COUNTY, MICHAEL
                                               MCCALLISTER, GARY HEWITT,
                                               STEVE HANSCHKA, AND KIM
                                               BENTHIN


   MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS
PURSUANT TO FED.R.CIV.P. 12(b)(6) AND THE OREGON TORT CLAIMS
    ACT FILED ON BEHALF OF CLACKAMAS COUNTY, MICHAEL
MCCALLISTER, GARY HEWITT, STEVE HANSCHKA, AND KIM BENTHIN




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      COME NOW Clackamas County, Michael McCallister, Steve Hanschka, Gary

Hewitt, and Kim Benthin, Defendants in the above captioned case and, in

conformity with the requirements of law, file this Memorandum in support of their

Motion to Dismiss the Plaintiffs‘ claims against them pursuant to the authority of

Fed.R.Civ.P. 12(b)(6) and the Oregon Tort Claims Act.                 Throughout this

Memorandum Michael McCallister, Steve Hanschka, Gary Hewitt, and Kim

Benthin are, on occasion, collectively referred to as the individual County

Defendants.



                                    ARGUMENT

1)    The controlling pleading standards under Fed.R.Civ.P 8(a)(2) and
      Fed.R.Civ.P 12(b)6.

      Fed.R.Civ.P. 8(a)(2) states that a civil complaint "must contain . . . a short

and plain statement of the claim showing that the pleader is entitled to relief." The

United States Supreme Court has long interpreted the "short and plain statement"

requirement to mean that ―the complaint must provide ‗the defendant [with] fair

notice of what the . . . claim is and the grounds upon which it rests.‘ " Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955 (2007) (quoting Conley v.

Gibson, 355 U.S. 41, 47, 78 S. Ct. 99 (1957)).

      However, more memorable and opaque than the above cited principle of

Conley, supra, was the passage in


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        Justice Black's opinion for the Court in Conley v. Gibson [which] spoke
        not only of the need for fair notice of the grounds for entitlement to
        relief but of ‗the accepted rule that a complaint should not be dismissed
        for failure to state a claim unless it appears beyond doubt that the
        plaintiff can prove no set of facts in support of his claim which would
        entitle him to relief.‘ 355 U.S., at 45-46, 78 S. Ct. 99, 2 L. Ed. 2d 80.
        This ‗no set of facts‘ language can be read in isolation as saying that
        any statement revealing the theory of the claim will suffice unless its
        factual impossibility may be shown from the face of the pleadings; . . .

Twombly, supra, 550 U.S. at 563.

        In its appraisal of Conley’s ―no set of facts‖ language the Twombly Court held

that:

        Conley's ‗no set of facts‘ language has been questioned, criticized, and
        explained away long enough. To be fair to the Conley Court, the
        passage should be understood in light of the opinion's preceding
        summary of the complaint's concrete allegations, which the Court quite
        reasonably understood as amply stating a claim for relief. But the
        passage so often quoted fails to mention this understanding on the part
        of the Court, and after puzzling the profession for 50 years, this famous
        observation has earned its retirement. The phrase is best forgotten as
        an incomplete, negative gloss on an accepted pleading standard: . . .

Twombly, supra, 550 U.S. at 562 – 563.

        The Twombly Court further articulated the relationship between the

pleading requirements of Fed.R.Civ.P. 8(a)(2) and Fed.R.Civ.P. 12(b)(6) as follows:

        While a complaint attacked by a Rule 12(b)(6) motion to dismiss does
        not need detailed factual allegations, ibid.; Sanjuan v. American Bd. of
        Psychiatry and Neurology, Inc., 40 F.3d 247, 251 (CA7 1994), a
        plaintiff's obligation to provide the "grounds" of his "entitle[ment] to
        relief" requires more than labels and conclusions, and a formulaic
        recitation of the elements of a cause of action will not do, see Papasan
        v. Allain, 478 U.S. 265, 286, 106 S. Ct. 2932, 92 L. Ed. 2d 209 (1986)
        (on a motion to dismiss, courts "are not bound to accept as true a legal
        conclusion couched as a factual allegation"). Factual allegations must
        be enough to raise a right to relief above the speculative level, see 5 C.
        Wright & A. Miller, Federal Practice and Procedure § 1216, pp 235-236
        (3d ed. 2004) (hereinafter Wright & Miller) ("[T]he pleading must

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      contain something more . . . than . . . a statement of facts that merely
      creates a suspicion [of] a legally cognizable right of action"), 3 on the
      assumption that all the allegations in the complaint are true (even if
      doubtful in fact), see, e.g., Swierkiewicz v. Sorema N. A., 534 U.S. 506,
      508, n. 1, 122 S. Ct. 992, 152 L. Ed. 2d 1 (2002); . . .

Twombly, supra, 550 U.S. at 555.

      Affirming the value of dismissal under Fed.R.Civ.P. 12(b)(6) when a court is

faced with a pleading that fails to satisfy the requirements of Fed.R.Civ.P. 8(a)(2)

the Twombly Court offered the following:

      We alluded to the practical significance of the Rule 8 entitlement
      requirement in Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 125 S. Ct.
      1627, 161 L. Ed. 2d 577 (2005), when we explained that something
      beyond the mere possibility of loss causation must be alleged, lest a
      plaintiff with "'a largely groundless claim'" be allowed to "'take up the
      time of a number of other people, with the right to do so representing
      an in terrorem increment of the settlement value.'" Id., at 347, 125 S.
      Ct. 1627, 161 L. Ed. 2d 577 (quoting Blue Chip Stamps v. Manor Drug
      Stores, 421 U.S. 723, 741, 95 S. Ct. 1917, 44 L. Ed. 2d 539 (1975)). So,
      when the allegations in a complaint, however true, could not raise a
      claim of entitlement to relief, "'this basic deficiency should . . . be
      exposed at the point of minimum expenditure of time and money by
      the parties and the court.'" 5 Wright & Miller § 1216, at 233-234
      (quoting Daves v. Hawaiian Dredging Co., 114 F. Supp. 643, 645 (Haw.
      1953)); . . .

Twombly, supra, 550 U.S. at 557 – 558.

      Following Twombly, supra, the Court has further held that

      Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain
      a "short and plain statement of the claim showing that the pleader is
      entitled to relief." As the Court held in Twombly, 550 U.S. 544, 127 S.
      Ct. 1955, 167 L. Ed. 2d 929, the pleading standard Rule 8 announces
      does not require "detailed factual allegations," but it demands more
      than an unadorned, the-defendant-unlawfully-harmed-me accusation.
      Id., at 555, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (citing Papasan v.
      Allain, 478 U.S. 265, 286, 106 S. Ct. 2932, 92 L. Ed. 2d 209 (1986)). A
      pleading that offers "labels and conclusions" or "a formulaic recitation
      of the elements of a cause of action will not do." 550 U.S., at 555, 127

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      S. Ct. 1955, 167 L. Ed. 2d 929. Nor does a complaint suffice if it
      tenders "naked assertion[s]" devoid of "further factual enhancement."
      Id., at 557, 127 S. Ct. 1955, 167 L. Ed. 2d 929. . . . .

      [O]nly a complaint that states a plausible claim for relief
      survives a motion to dismiss. Id. [Twombly], at 556, 127 S.Ct.
      1955. Determining whether a complaint states a plausible claim for
      relief will, as the Court of Appeals observed, be a context-specific task
      that requires the reviewing court to draw on its judicial experience and
      common sense. 490 F.3d at 157-158. But where the well-pleaded
      facts do not permit the court to infer more than the mere
      possibility of misconduct, the complaint has alleged-but it has
      not „show[n]‟-„that the pleader is entitled to relief.‟

Ashcroft v. Iqbal, 556 U.S. 662, 883 - 884, 129 S.Ct. 1937 (2009). Emphasis

added.

The standards applicable to the assessment of the sufficiency of a complaint under

Fed.R.Civ.P 8(a)(2) and Fed.R.Civ.P. 12(b)(6) set forth by the Court in Twombly,

supra, and Iqbal, supra, apply to pleadings in all civil actions. Iqbal, supra, 556

U.S. at 887 – 888.


2)    The failure of the Plaintiffs to comply with the pleading standards of
      Fed.R.Civ.P 8(a)(2) requires the dismissal of Claims One, Two and
      Three of the Complaint as to Clackamas County, pursuant to
      Fed.R.Civ.P 12(b)6).

      In Claims One, Two and Three of this sprawling Complaint naming one

dozen Defendants, with a narrative consuming ninety-nine separately numbered

paragraphs (with paragraph numbers 90 and 91 each numbered as paragraph 90),

and featuring a glossary of terms, Plaintiffs claim an entitlement to recovery from

Clackamas County under 42 U.S.C. § 1983. Their claims are to be dismissed under

Fed.R.Civ.P. 12(b)(6) as a consequence of the Plaintiffs‘ failure to comply with the


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essential and most basic pleading requirements when recovery is sought from a

local governmental unit pursuant to 42 U.S.C. § 1983.

      The circumstances under which a public entity such as Clackamas County

may be found liable under 42 U.S.C. § 1983 are "carefully circumscribed." Fuller v.

City of Oakland, 47 F.3d 1522, 1534 (9th Cir. 1995).                  The now well-settled

substantive law of municipal liability under 42 US.C. § 1983 finds its origin in

Monell v. Department of Social Services of City of New York, 436 U.S. 658, 98 S.Ct.

2018 (1978):

            We conclude, therefore, that a local government may not be
      sued under § 1983 for an injury inflicted solely by its employees
      or agents. Instead, it is when execution of a government's policy
      or custom, whether made by its lawmakers or by those whose edicts
      or acts may fairly be said to represent official policy, inflicts the
      injury that the government as an entity is responsible under §
      1983.

Monell, supra, 436 U.S. at 694. Emphasis added.

      Commencing with its initial recognition of local governmental liability under

42 U.S.C. § 1983 in Monell, supra, and continuing through subsequent cases, the

United States Supreme Court has made clear on a number of occasions that a local

governmental unit may not be held vicariously liable for the unconstitutional acts of

its employees under the theory of respondeat superior. ―As we indicated in Moor v.

County of Alameda, 411 U.S. 693, 706 (1973) ‗Congress did not intend, as a matter

of federal law, to impose vicarious liability on municipalities for violations of federal

civil rights by their employees.‘ 411 U.S., at 710, n. 27.‖ Jett v. Dallas Indep. Sch.

Dist., 491 U.S. 701, 733, 109 S. Ct. 2702 (1989). See also Barren v. Harrington, 152


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F3d 1193, 1194 (9th Cir 1998), cert denied, 525 U.S. 1154, 119 S. Ct. 1058 (1999);

Gibson v. County of Washoe, 290 F.3d 1175, 1185 (9th Cir. 2002).

      The Plaintiffs‘ Complaint is void of any reference to a policy, practice or

custom of Clackamas County which might, in any way, have been the moving force

behind what the Plaintiffs claim is the deprivation of the rights guaranteed to them

by the First and Fourteenth Amendments to the U.S. Constitution. To the degree

that the Plaintiffs‘ Complaint can in any fashion be read as stating claims under 42

U.S.C. § 1983, their claims as to Clackamas County are founded on the expressly

rejected theory of respondeat superior liability.

      Based upon the above authorities, Clackamas County moves for the dismissal

of the Plaintiffs‘ Complaint against it. As to Clackamas County the Complaint is, in

all aspects, ―unreasonable, frivolous, meritless or vexatious‖ such that Clackamas

County is entitled, under 42 U.S.C. § 1988(b), to an award of the attorneys‘ fees

incurred in the defense of this portion of Plaintiffs‘ lawsuit. Vernon v. City of Los

Angeles, 27 F.3d 1385, 1402 (9th Cir.1994), cert. denied, 513 U.S. 1000, 115 S.Ct.

510 (1994).

      Further, Clackamas County asks that this Court exercise its discretion and

refuse to grant the Plaintiffs leave to amend their Complaint as to Clackamas

County.

      Rule 8(a) requires that a complaint contain "a short and plain statement of
      the claim showing that the pleader is entitled to relief." Fed. R. Civ. P.
      8(a)(2). Although normally "verbosity or length is not by itself a basis for
      dismissing a complaint," Hearns v. San Bernardino Police Dep't, 530 F.3d
      1124, 1131 (9th Cir. 2008), we have never held—and we know of no authority
      supporting the proposition—that a pleading may be of unlimited length and

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      opacity. Our cases instruct otherwise. See, e.g., McHenry v. Renne, 84 F.3d
      1172, 1177-80 (9th Cir. 1996) (upholding a Rule 8(a) dismissal of a complaint
      that was "argumentative, prolix, replete with redundancy, and largely
      irrelevant"); Hatch v. Reliance Ins. Co., 758 F.2d 409, 415 (9th Cir. 1985)
      (upholding a Rule 8(a) dismissal of a complaint that "exceeded 70 pages in
      length, [and was] confusing and conclusory"); Nevijel v. North Coast Life Ins.
      Co., 651 F.2d 671, 674 (9th Cir. 1981) (holding that Rule 8(a) is violated when
      a complaint is excessively "verbose, confusing and almost entirely
      conclusory"); Schmidt v. Herrmann, 614 F.2d 1221, 1224 (9th Cir. 1980)
      (upholding a Rule 8(a) dismissal of "confusing, distracting, ambiguous, and
      unintelligible pleadings"). While "the proper length and level of clarity for a
      pleading cannot be defined with any great precision," Rule 8(a) has "been
      held to be violated by a pleading that was needlessly long, or a complaint that
      was highly repetitious, or confused, or consisted of incomprehensible
      rambling." 5 Charles A. Wright & Arthur R. Miller, Federal Practice &
      Procedure § 1217 (3d ed. 2010).

Cafasso, U.S. ex rel. v. General Dynamics C4 Systems, Inc., 637 F.3d 1047, 1058 -
1059 (9th Cir. 2011).
      Clackamas County notes in passing that the Plaintiffs have also failed to

offer any facts sufficient to state a claim that the Mount Hood Corridor CPO, a

Community Planning Organization, is a ―state actor‖ such that it is subject to

liability under 42 U.S.C. § 1983.

      Under familiar principles, even a private entity can, in certain circumstances,
      be subject to liability under section 1983. In Lugar v. Edmondson Oil Co.,
      457 U.S. 922, 102 S. Ct. 2744, 73 L. Ed. 2d 482 (1982), the Supreme Court
      created a two step analysis for determining whether or not there was state
      action by a private actor sufficient to establish liability for a constitutional
      tort. The first inquiry was "whether the claimed deprivation has resulted
      from the exercise of a right or privilege having its source in state authority."
      Id. at 939. The second was "whether, under the facts of this case, . . . [the]
      private parties, may be appropriately characterized as 'state actors.‖ Id. In
      Brentwood Academy v. Tennessee Secondary School Athletic Association, 531
      U.S. 288, 121 S. Ct. 924, 148 L. Ed. 2d 807 (2001), the Court introduced a
      multi-factored test. Id. at 295-300. The inquiry is a general one: "[S]tate
      action may be found if, though only if, there is such a 'close nexus between
      the State and the challenged action' that seemingly private behavior 'may be
      fairly treated as that of the State itself.'" Id. at 295 (quoting Jackson v.
      Metropolitan Edison Co., 419 U.S. 345, 351, 95 S. Ct. 449, 42 L. Ed. 2d 477
      (1974)). Some of the factors to consider in determining whether there is a

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         "close nexus" are: (1) the organization is mostly comprised of state
         institutions; (2) state officials dominate decision making of the organization;
         (3) the organization's funds are largely generated by the state institutions;
         and (4) the organization is acting in lieu of a traditional state actor. See id. at
         295-99.

Villegas v. Gilroy Garlic Festival Ass'n, 541 F.3d 950, 954 - 955 (9th Cir. 2008) .

Rather than pleading any facts sufficient to support their claim that the Mount

Hood Corridor CPO, a Community Planning Organization, is a state actor or acting

under color of law, the Plaintiffs rely exclusively on the labels, conclusions and

naked assertions that the Supreme Court has rejected as inadequate in Twombly,

supra, and Iqbal, supra. The relevant portions of the Plaintiffs‘ pleading are set out

below:

                                           Claim One

           At all material times, defendants have acted under color of law.
     Complaint, p 16, ¶ 79

                                           Claim Two

              At all material times, defendants have acted under color of law.
         Complaint, p 17, ¶ 85
                                      Claim Three

              At all material times, defendants were acting under color of law.
         Complaint, p 18, ¶ 91

         As held by the Court in Ashcroft v. Iqbal, 556 U.S. 662, 883, 129 S.Ct. 1937

(2009):

A pleading that offers "labels and conclusions" or "a formulaic recitation of the

elements of a cause of action will not do." 550 U.S., at 555, 127 S. Ct. 1955, 167 L.




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Ed. 2d 929. Nor does a complaint suffice if it tenders "naked assertion[s]" devoid of

"further factual enhancement." Id., at 557, 127 S. Ct. 1955, 167 L. Ed. 2d 929.



The Plaintiffs have failed to plead sufficient facts to support their allegations as to

the Mount Hood Corridor CPO, a Community Planning Organization. Rather they

have offered only labels, conclusions and naked assertions. The Plaintiffs‘

Complaint is to be dismissed as to the Mount Hood Corridor CPO.

3)    The Oregon Tort Claims Act requires the dismissal of Claim Four of
      the Complaint as to the individual County Defendants and
      Clackamas County.

      i)     As to Clackamas County and the individual County
             Defendants, the Oregon Tort Claims Act governs Claim
             Four of the Complaint.

      Claim Four of the Complaint is a supplemental state law claim brought

against both Clackamas County and the individual County defendants asserting a

right to recover for the interference with contractual relations and the intentional

interference with business relations. These causes of action largely overlap and are

recognized under Oregon law as torts. American Sanitary Service, Inc. v. Walker,

276 Or. 389, 393 – 394 554 P.2d 1010 (1976). That being the case, the Plaintiffs‘

claim here is governed by the Oregon Tort Claims Act, O.R.S. § 30.260, et seq.

      ii)    The Oregon Tort Claims Act specifically prohibits the
             Plaintiffs from maintaining their tort action against the
             individual County Defendants.




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      The Oregon Tort Claims Act specifically prohibits the Plaintiffs from

maintaining their tort action against the individual County Defendants.           As

applicable here, O.R.S. § 30.265 sets forth the following:

      30.265 Scope of liability of public body, officers, employees and agents;

      (1) The sole cause of action for any tort of officers, employees
      or agents of a public body acting within the scope of their
      employment or duties and eligible for representation and
      indemnification under ORS 30.285 or 30.287 shall be an action
      against the public body only. The remedy provided by ORS
      30.260 to 30.300 is exclusive of any other action or suit against
      any such officer, employee or agent of a public body whose act
      or omission within the scope of the officer's, employee's or
      agent's employment or duties gives rise to the action or suit.
      No other form of civil action or suit shall be permitted. If an action
      or suit is filed against an officer, employee or agent of a public
      body, on appropriate motion the public body shall be
      substituted as the only defendant. (Emphasis added).

Inasmuch as the Plaintiffs have already pleaded that Clackamas County is liable to

them for the torts of interference with contractual relations and the intentional

interference with business relations there is no need to ―substitute‖ Clackamas

County for the individual County defendants. Rather, pursuant to the Oregon Tort

Claims Act, Claim Four of the Complaint is to be dismissed as to the individual

County defendants.

      iii)   The failure of the Plaintiffs to comply with the
             mandatory notice provisions of the Oregon Tort Claims
             Act requires the dismissal of Claim Four of the Complaint
             as to Clackamas County.

      The Oregon Tort Claims Act contains a ―notice of claim‖ provision at O.R.S. §

30.275. As applicable here, with emphasis added, O.R.S. § 30.275 sets forth the

following:

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      O.R.S. § 30.275. Notice of claim; time of notice and action

      (1) No action arising from any act or omission of a public body
      or an officer, employee or agent of a public body within the
      scope of ORS 30.260 to 30.300 shall be maintained unless notice
      of claim is given as required by this section.

      (2) Notice of claim shall be given within the following applicable period
      of time, not including the period, not exceeding 90 days, during which
      the person injured is unable to give the notice because of the injury or
      because of minority, incompetency or other incapacity:
      (a) For wrongful death, within one year after the alleged loss or injury.
      (b) For all other claims, within 180 days after the alleged loss or
      injury. (Emphasis added).

      O.R.S. § 30.275 is a jurisdictional, not a procedural statute. The notice of

claim provision is a substantive condition precedent to recovery for claims within

the ambit of the Oregon Tort Claims Act. Failure to satisfy the notice of claim

provision deprives a plaintiff of the right to make a claim. Further, the plaintiff

bears the burden of proving that proper notice of claim was given.          O.R.S. §

30.275(7).

      ―As stated in Urban Renewal Agency v. Lackey, 275 Or. 35, 40, 549 P.2d 657

(1976), ‗[t]he pleading and proof of notice sufficient to satisfy the requirements of

O.R.S. § 30.275 is a mandatory requirement and a condition precedent to recovery

under the Oregon Tort Claims Act.‘ ‖ Georgeson v. State, 75 Or.App. 213, 216, 706

P.2d 570, recon. denied, rev. denied 300 Or. 332, 710 P.2d 14. (1985).

      The Plaintiffs have failed to meet the notice of claim requirements of the

Oregon Tort Claims Act. That being the case, their supplemental state claim as set

out in Claim Four cannot be maintained as to Clackamas County and is to be

dismissed.

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   4) The failure of the Plaintiffs to comply with the pleading standards of
      Fed.R.Civ.P 8(a)(2) requires the dismissal of Michael McAllister, one
      of the individual County defendants in this case, pursuant to
      Fed.R.Civ.P 12(b)6),

      In Claims One, Two and Three of the Complaint the Plaintiffs assert an

entitlement to recovery from Michael McAllister under 42 U.S.C. § 1983. Their

claims are to be dismissed under Fed.R.Civ.P. 12(b)(6) as a consequence the

Plaintiffs failure to comply with the essential and most basic pleading requirements

when recovery is sought from a state actor or an individual acting under color of law

pursuant to 42 U.S.C. § 1983.

      As set out in the Plaintiffs‘ Complaint the complete set of factual allegations

as to the conduct of Michael McAllister are as follows:

            On January 7, 2010, Michael McCallister, a named Defendant
     herein, attended a meeting of the Mt. Hood Community Planning
     Organization and accused Mr. O‘Connor of violating floodplain
     development and construction laws and asserted that such acts created
     the risk of increased flood insurance rates within Clackamas County.
     Michael McCallister also suggested that Mr. O‘Connor‘s construction
     license should be revoked.
Complaint, pp. 9 - 10, ¶ 48.

      These factual allegations in the Complaint fail to link the conduct of Mr.

McAllister to any conduct that would even suggest a violation of rights secured to

any of the Plaintiffs by any provision of the U.S. Constitution or federal law.

Notwithstanding its breadth, 42 U.S.C. § 1983 does not provide a mechanism for the

redress of state torts, nor are the guarantees provided by the United States

Constitution coextensive with the protections provided to citizens by state tort laws.

Baker v. McCollan, 443 U.S. 137, 99 S. Ct. 2689 (1979).


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      Indeed it is simply impossible to determine how any of Mr. McAllister s

alleged acts bear any relationship to Claim One, Two or Three of the Plaintiffs‘

Complaint.

                         Claim One sets forth the following:

        (Fourteenth Amendment – Violation of Substantive and Procedural
                                Due Process)

            Defendants actions in denying and delaying permits, issuing
    citations, conducting hearings and otherwise refusing to permit
    plaintiffs to conduct legal activities were arbitrary and capricious and
    in violation of fundamental concepts of due process. Defendants‘
    actions did not substantially advance any governmental purpose.
Complaint, p. 16, ¶ 77

                            Claim Two sets forth the following:

             (Violation of 42 U.S.C. 1983 – First Amendment Retaliation)

            As alleged above, defendants retaliated against plaintiffs for
     exercising First Amendment Rights.
Complaint, p. 17, ¶ 83

            Defendants‘ actions were in violation of Plaintiffs‘ First
     Amendment Rights, in particular freedom of speech and the right to
     petition the government for redress of grievances as applied to the
     states through the Fourteenth Amendment.
Complaint, p. 17, ¶ 84

                        Claim Three sets forth the following:

          (Violation of 42 U.S.C. 1983 – Fourteenth Amendment – Equal
                                    Protection)

            Defendants treated plaintiffs differently from other land owners,
      developers and contractors in violation of the equal protection
      guaranteed by the Fourteenth Amendment by taking retaliatory action
      against then as alleged in the Second Claim, by denting and delaying
      permits to them or their businesses, by issuing numerous non-
      meritorious citations against them or their businesses, by conducting


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     sham administrative hearings and by issuing illegal orders which were
     based in fact or law.
Complaint, p. 18, ¶ 90

            Defendants' actions were irrational and arbitrary and were
     motivated by animosity, ill will and vindictiveness against plaintiffs for
     having exercised their First Amendment Rights, as alleged in the
     Second Claim.
Complaint, p. 18, ¶ 90 (misnumbered in Complaint)


      What the Plaintiffs present as an articulation of their claims for relief are

nothing more than labels and conclusions; naked assertions devoid of further

factual enhancement; and formulaic recitations of the elements of a cause of action.

The Supreme Court has expressly held in Twombly, supra and Iqbal, supra. that

such pleadings fail to satisfy the requirements of Fed.R.Civ.P. 8(a)(2) and warrant

the dismissal of such a Complaint pursuant to Fed.R.Civ.P. 12(b)(6).

            A pleading that offers "labels and conclusions" or "a
      formulaic recitation of the elements of a cause of action will
      not do." 550 U.S., at 555, 127 S. Ct. 1955, 167 L. Ed. 2d 929. Nor does
      a complaint suffice if it tenders "naked assertion[s]" devoid of
      "further factual enhancement." Id., at 557, 127 S. Ct. 1955, 167 L.
      Ed. 2d 929. . . . .

      [O]nly a complaint that states a plausible claim for relief
      survives a motion to dismiss. Id. [Twombly], at 556, 127 S.Ct.
      1955. Determining whether a complaint states a plausible claim for
      relief will, as the Court of Appeals observed, be a context-specific task
      that requires the reviewing court to draw on its judicial experience and
      common sense. 490 F.3d at 157-158. But where the well-pleaded
      facts do not permit the court to infer more than the mere
      possibility of misconduct, the complaint has alleged-but it has
      not „show[n]‟-„that the pleader is entitled to relief.‟

Iqbal, supra, 556 U.S. at 883 - 884. Emphasis added.




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      As noted the factual allegations of the Complaint do not even present the

mere possibility of misconduct by Mr. McAllister that is subject to remedy in a suit

under 42 U.S.C. § 1983. Again referencing Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct.

1937 (2009)

      Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain
      a "short and plain statement of the claim showing that the pleader is
      entitled to relief." As the Court held in Twombly, 550 U.S. 544, 127 S.
      Ct. 1955, 167 L. Ed. 2d 929, the pleading standard Rule 8 announces
      does not require "detailed factual allegations," but it demands more
      than an unadorned, the-defendant-unlawfully-harmed-me accusation.
      Id., at 555, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (citing Papasan v.
      Allain, 478 U.S. 265, 286, 106 S. Ct. 2932, 92 L. Ed. 2d 209 (1986)).

Iqbal, supra, 556 U.S. at 883

      In Smith v. C.M.F. State Prison, No. CIV S-10-2562 KJM P, 2010 WL

4817513 (E.D. Cal. 2010) the District Court was called upon to examine the

sufficiency of a claim under Fed.R.Civ.P. 12(b)(6)

      To proceed with a civil rights action, plaintiff must connect
      named defendants clearly with the claimed denial of his rights.
      Farmer v. Brennan, 511 U.S. 825, 837, 843, 114 S.Ct. 1970, 128
      L.Ed.2d 811 (1994) (official's liability for deliberate indifference
      requires that official know of and disregard an ‗excessive risk‘);
      Johnson v. Duffy, 588 F.3d 740, 743-44 (9th Cir.1978) (discussing
      ‗requisite causal connection‘ in section 1983 cases between named
      defendant and claimed injury). The complaint does not connect
      [Michael McAllister] with the claimed violation of rights.
      Dismissal is warranted under Rule 12(b)(6) where the
      complaint lacks a cognizable legal theory or where the
      complaint presents a cognizable legal theory yet fails to plead
      essential facts under that theory. Robertson v. Dean Witter
      Reynolds, Inc., 749 F.2d 530, 534 (9th Cir.1984).

2010 WL 4817513 at *2. Emphasis added.




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      Based upon the above authorities, Michael McAllister moves for the dismissal

of the Plaintiffs‘ Complaint against him. As to Michael McAllister the Complaint is,

in all aspects, ―unreasonable, frivolous, meritless or vexatious‖ such that Michael

McAllister is entitled, under 42 U.S.C. § 1988(b), to an award of the attorneys‘ fees

incurred in the defense of this portion of the Plaintiffs‘ lawsuit. Vernon v. City of

Los Angeles, 27 F.3d 1385, 1402 (9th Cir.1994), cert. denied, 513 U.S. 1000, 115

S.Ct. 510 (1994).

      Further, Michael McAllister asks that this Court exercise its discretion and

refuse to grant the Plaintiffs leave to amend their Complaint as to him.

      Normally, when a viable case may be pled, a district court should
      freely grant leave to amend. Lipton v. Pathogenesis Corp., 284 F.3d
      1027, 1039 (9th Cir. 2002). However, "liberality in granting leave to
      amend is subject to several limitations." Ascon Props., Inc. v. Mobil Oil
      Co., 866 F.2d 1149, 1160 (9th Cir. 1989) (citing DCD Programs, Ltd. v.
      Leighton, 833 F.2d 183, 186 (9th Cir. 1987)). Those limitations include
      undue prejudice to the opposing party, bad faith by the movant,
      futility, and undue delay. Id.

Cafasso, U.S. ex rel. v. General Dynamics C4 Systems, Inc., 637 F.3d 1047, 1058 -

1059 (9th Cir. 2011).

      Here the Plaintiffs do not have a viable claim against Mr. McAllister under

42 U.S.C. § 1983. Further, under the facts alleged in the Plaintiffs‘ Complaint, the

presentation of a claim against Mr. McAllister under 42 U.S.C. § 1983 reflects bad

faith by the movants and demonstrates the futility of any amendment as to Mr.

McAllister.

   5) The failure of the Plaintiffs to comply with the pleading standards of
      Fed.R.Civ.P 8(a)(2) requires the dismissal of Gary Hewitt, one of the


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      individual County defendants in this case, pursuant to Fed.R.Civ.P
      12(b)6).

      In Claims One, Two and Three of the Complaint the Plaintiffs assert an

entitlement to recovery from Gary Hewitt under 42 U.S.C. § 1983. Their claims are

to be dismissed under Fed.R.Civ.P. 12(b)(6) as a consequence the Plaintiffs failure

to comply with the essential and most basic pleading requirements when recovery is

sought from a state actor or an individual acting under color of law pursuant to 42

U.S.C. § 1983.

      As set out in the Plaintiffs‘ Complaint the complete set of factual allegations

as to the conduct of Gary Hewitt which the Plaintiffs assert constitute a cognizable

claim under 42 U.S.C. § 1983, are as follows, with emphasis added:

            On December 2, 2009, O‘Connor submitted the final application
     documents to Clackamas County, including the required ―no adverse
     effects‖ statement from Firwood Design Group. Hewitt immediately
     presented O‟Connor with a Notice of Incomplete Application,
     dated December 3, 2009, addressed to O‟Connor, Konell and
     Lifestyle Ventures [a nonparty]. The Notice states that O‘Connor
     had not presented documents which in fact had been included in final
     application submittal just given to Hewitt at that time. The Notice
     also indicates falsely that FEMA [Federal Emergency Management
     Agency] was concerned that the revetment which O‘Connor had
     constructed at lots 4200-4400 [lots 4200 and 4300 are owned by a
     nonparty, Lifestyle Ventures, LLC. Complaint, p. 4, ¶ 23] was illegal
     and had the potential to increasing [sic] flood insurance rates
     throughout the entire Clackamas County area.
Complaint, p. 8, ¶ 46

            [On December 2, 2009] [a]lthough Hewitt was aware that
     plaintiffs had completed the application process, he advised
     O‟Connor that plaintiffs could not rely on the BFE [Base Flood
     Elevation] certification from Firwood Design Group because it
     was incorrect.
Complaint, p. 9, ¶ 46


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            [On December 2, 2009] Hewitt advised O‟Connor that
     [Steve] Hanschka had determined that O‘Connor could not get
     approval of his application without obtaining a Letter of Map Approval
     (―LOMA‖) from FEMA [Federal Emergency Management Agency] and
     therefore Hanschka had given Hewitt a LOMA Letter of Map
     Approval application form to deliver to O‟Connor. Because this
     was a new requirement Hewitt told O‟Connor that the plaintiffs
     must extend the time the County had to make a decision if
     plaintiffs wanted to get the LOMA [Letter of Map Approval]
     survey worked completed, otherwise plaintiffs‘‘ application would
     expire and they would have to pay all the fines at $3500 per day per lot
     since the first day of beginning construction of the revetment. Because
     of this threat, on December 2, 2009, O‘Connor signed an extension and
     agreed to obtain the LOMA [Letter of Map Amendment].
Complaint, p. 9, ¶ 46

      These factual allegations in the Complaint fail to link the conduct of Mr.

Hewitt to any conduct that would even suggest a violation of rights secured to any

of the Plaintiffs by any provision of the U.S. Constitution or federal law.

Notwithstanding its breadth, 42 U.S.C. § 1983 does not provide a mechanism for the

redress of state torts, nor are the guarantees provided by the United States

Constitution coextensive with the protections provided to citizens by state tort laws.

Baker v. McCollan, 443 U.S. 137, 99 S. Ct. 2689 (1979).

      Indeed it is simply impossible to determine how any of Mr. Hewitt‘s alleged

acts bear any relationship to Claim One, Two or Three of the Plaintiffs‘ Complaint.

                            Claim One sets forth the following:

        (Fourteenth Amendment – Violation of Substantive and Procedural
                                Due Process)

             Defendants actions in denying and delaying permits, issuing
     citations, conducting hearings and otherwise refusing to permit
     plaintiffs to conduct legal activities were arbitrary and capricious and
     in violation of fundamental concepts of due process. Defendants‘
     actions did not substantially advance any governmental purpose.

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Complaint, p. 16, ¶ 77


                             Claim Two sets forth the following:

            (Violation of 42 U.S.C. 1983 – First Amendment Retaliation)

            As alleged above, defendants retaliated against plaintiffs for
     exercising First Amendment Rights.
Complaint, p. 17, ¶ 83

            Defendants‘ actions were in violation of Plaintiffs‘ First
     Amendment Rights, in particular freedom of speech and the right to
     petition the government for redress of grievances as applied to the
     states through the Fourteenth Amendment.
Complaint, p. 17, ¶ 84

                         Claim Three sets forth the following:

          (Violation of 42 U.S.C. 1983 – Fourteenth Amendment – Equal
                                    Protection)

            Defendants treated plaintiffs differently from other land owners,
     developers and contractors in violation of the equal protection
     guaranteed by the Fourteenth Amendment by taking retaliatory action
     against then as alleged in the Second Claim, by denting and delaying
     permits to them or their businesses, by issuing numerous non-
     meritorious citations against them or their businesses, by conducting
     sham administrative hearings and by issuing illegal orders which were
     based in fact or law.
Complaint, p. 18, ¶ 90

            Defendants‘ actions were irrational and arbitrary and were
     motivated by animosity, ill will and vindictiveness against plaintiffs for
     having exercised their First Amendment Rights, as alleged in the
     Second Claim.
Complaint, p. 18, ¶ 90 (misnumbered in Complaint)

      What the Plaintiffs present as an articulation of their claims for relief are

nothing more than labels and conclusions; naked assertions devoid of further

factual enhancement; and formulaic recitations of the elements of a cause of action.


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The Supreme Court has expressly held in Twombly, supra and Iqbal, supra. that

such pleadings fail to satisfy the requirements of Fed.R.Civ.P. 8(a)(2) and warrant

the dismissal of such a Complaint pursuant to Fed.R.Civ.P. 12(b)(6).

             A pleading that offers "labels and conclusions" or "a formulaic
      recitation of the elements of a cause of action will not do." 550 U.S., at
      555, 127 S. Ct. 1955, 167 L. Ed. 2d 929. Nor does a complaint suffice if
      it tenders "naked assertion[s]" devoid of "further factual
      enhancement." Id., at 557, 127 S. Ct. 1955, 167 L. Ed. 2d 929. . . . .

      [O]nly a complaint that states a plausible claim for relief
      survives a motion to dismiss. Id. [Twombly], at 556, 127 S.Ct.
      1955. Determining whether a complaint states a plausible claim for
      relief will, as the Court of Appeals observed, be a context-specific task
      that requires the reviewing court to draw on its judicial experience and
      common sense. 490 F.3d at 157-158. But where the well-pleaded
      facts do not permit the court to infer more than the mere
      possibility of misconduct, the complaint has alleged-but it has
      not „show[n]‟-„that the pleader is entitled to relief.‟

Iqbal, supra, 556 U.S. at 883 - 884. Emphasis added.

      As noted the factual allegations of the Complaint do not even present the

mere possibility of misconduct by Mr. Hewitt that is subject to remedy in a suit

under 42 U.S.C. § 1983. Again referencing Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct.

1937 (2009):

      Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain
      a "short and plain statement of the claim showing that the pleader is
      entitled to relief." As the Court held in Twombly, 550 U.S. 544, 127 S.
      Ct. 1955, 167 L. Ed. 2d 929, the pleading standard Rule 8 announces
      does not require "detailed factual allegations," but it demands more
      than an unadorned, the-defendant-unlawfully-harmed-me accusation.
      Id., at 555, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (citing Papasan v.
      Allain, 478 U.S. 265, 286, 106 S. Ct. 2932, 92 L. Ed. 2d 209 (1986)).

Iqbal, supra, 556 U.S. at 883.



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      In Smith v. C.M.F. State Prison, No. CIV S-10-2562 KJM P, 2010 WL

4817513 (E.D. Cal. 2010) the District Court was called upon to examine the

sufficiency of a claim under Fed.R.Civ.P. 12(b)(6).

      To proceed with a civil rights action, plaintiff must connect
      named defendants clearly with the claimed denial of his rights.
      Farmer v. Brennan, 511 U.S. 825, 837, 843, 114 S.Ct. 1970, 128
      L.Ed.2d 811 (1994) (official's liability for deliberate indifference
      requires that official know of and disregard an ‗excessive risk‘);
      Johnson v. Duffy, 588 F.3d 740, 743-44 (9th Cir.1978) (discussing
      ‗requisite causal connection‘ in section 1983 cases between named
      defendant and claimed injury). The complaint does not connect
      [Gary Hewitt] with the claimed violation of rights. Dismissal is
      warranted under Rule 12(b)(6) where the complaint lacks a
      cognizable legal theory or where the complaint presents a
      cognizable legal theory yet fails to plead essential facts under
      that theory. Robertson v. Dean Witter Reynolds, Inc., 749 F.2d 530,
      534 (9th Cir.1984).

2010 WL 4817513 at *2. Emphasis added.

      Based upon the above authorities, Gary Hewitt moves for the dismissal of the

Plaintiffs‘ Complaint against him.       As to Gary Hewitt the Complaint is, in all

aspects, ―unreasonable, frivolous, meritless or vexatious‖ such that Gary Hewitt is

entitled, under 42 U.S.C. § 1988(b), to an award of the attorneys‘ fees incurred in

the defense of this portion of the Plaintiffs‘ lawsuit. Vernon v. City of Los Angeles,

27 F.3d 1385, 1402 (9th Cir.1994), cert. denied, 513 U.S. 1000, 115 S.Ct. 510 (1994).

      Further, Gary Hewitt asks that this Court exercise its discretion and refuse

to grant the Plaintiffs leave to amend their Complaint as to him.

      Normally, when a viable case may be pled, a district court should
      freely grant leave to amend. Lipton v. Pathogenesis Corp., 284 F.3d
      1027, 1039 (9th Cir. 2002). However, "liberality in granting leave to
      amend is subject to several limitations." Ascon Props., Inc. v. Mobil Oil
      Co., 866 F.2d 1149, 1160 (9th Cir. 1989) (citing DCD Programs, Ltd. v.

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                                                                                   21
        Leighton, 833 F.2d 183, 186 (9th Cir. 1987)). Those limitations include
        undue prejudice to the opposing party, bad faith by the movant,
        futility, and undue delay. Id.

Cafasso, U.S. ex rel. v. General Dynamics C4 Systems, Inc., 637 F.3d 1047, 1058 -

1059 (9th Cir. 2011).

        Here the Plaintiffs do not have a viable claim against Mr. Hewitt under 42

U.S.C. § 1983. Further, under the facts alleged in the Plaintiffs‘ Complaint, the

presentation of a claim against Mr. Hewitt under 42 U.S.C. § 1983 reflects bad faith

by the movants and demonstrates the futility of any amendment as to Mr. Hewitt.

   6) The failure of the Plaintiffs to comply with the pleading standards of
      Fed.R.Civ.P 8(a)(2) requires the dismissal of Steve Hanschka, one of
      the individual County defendants in this case, pursuant to
      Fed.R.Civ.P 12(b)6).

        On October 27, 2011, the Complaint in this matter was filed in the U.S.

District Court for the District of Oregon. In Claims One, Two and Three of the

Complaint the Plaintiffs assert an entitlement to recovery from Steve Hanschka

under 42 U.S.C. § 1983.      The statute of limitations for Oregon actions brought

under 42 U.S.C. § 1983 is two years. Plumeau v. Sch. Dist. # 40 County of Yamhill,

130 F.3d 432, 438 (9th Cir.1997). All acts occurring prior to October 27, 2009, are

outside of the statute of limitations and not subject to recovery under 42 U.S.C. §

1983.

        As to Mr. Hanschka the Plaintiffs set forth the following facts and events

occurring outside the statute of limitations upon which they base their claims for

recovery under 42 U.S.C. § 1983:



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            In or about October, 2007, O‘Connor met with defendant
     Hanschka to determine the BFEs [Base Flood Elevations] for the lots,
     [Lots 4200, 4300 and 4400 Liberty Lodge Subdivision. Lots 4200 and
     4300 were owned by Lifestyle Ventures, LLC, a nonparty. Lot 4440
     was owned by Lisa Konell. Complaint, p. 4, ¶ 23]. O‘Connor and
     Hanschka reviewed FEMA [Federal Emergency Management Agency]
     and County maps which indicated that plaintiff could construct houses
     on the lots, provided he verified the elevations where the homes were
     to be located on the lots. Plaintiff verified the BFE [Base Flood
     Elevation] information, by obtaining elevation certificates from
     professional land surveyors, which indicated the homes were buildable
     because they were to be located above the BFE [Base Flood Elevation].
Complaint p 5 ¶ 24

            On August, 11, 2009, Hanschka notified plaintiffs that the FDP
     [Floodplain Development Plan] and PRCA [Principal River
     Conservation Area] application] (FDP #Z0519-09-F) was incomplete.
     This notice specified the completion date for the application as
     February 13, 2010. Among other things, defendant Hanschka advised
     O‘Connor that the elevation certificate signed by Fir Wood [sic] Design
     Group was not acceptable because by Hanschka determination, it
     indicated that the elevation was below the BFE [Base Flood Elevation]
     for the proposed building site. At that time Hanschka knew the
     elevation he was using to make this determination was upriver from
     the site and therefore considerable [sic] higher than where the lots
     were located.
Complaint, pp 6 - 7, ¶36

      Further, the Plaintiffs‘ claims that reference facts and events occurring

within the applicable statute of limitations are to be dismissed under Fed.R.Civ.P.

12(b)(6) as a consequence the Plaintiffs failure to comply with the essential and

most basic pleading requirements when recovery is sought from a state actor or an

individual acting under color of law pursuant to 42 U.S.C. § 1983.

      As set out in the Plaintiffs‘ Complaint the remaining factual allegations as to

the conduct of Steve Hanschka which the Plaintiffs assert constitute a cognizable

claim under 42 U.S.C. § 1983, are as follows:


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            On November 5, 2009, O‘Connor obtained BFE [Base Flood
     Elevation] certificates and no fill certificates from Firwood Design
     Group. Defendant Hanschka, determined, based on his use of an
     improper BFE [Base Flood Elevation] that these certifications were not
     adequate even though they fully complied with Zoning and
     Development Ordinance (―ZDO‖) requirements.           Hanschka also
     contacted Firwood Design Group and suggested that the certifications
     had been forged by O‘Connor, and that Fir Wood [sic] was not qualified
     to be working on projects such as O‘Connor‘s.
Complaint, pp. 7 - 8, ¶ 43

            [On December 2, 2009], Hanschka, circulated the notice [of
     Incomplete Application, dated December 3, 2009, addressed to
     O‘Connor, Konell and Lifestyle Ventures (a nonparty)] through out
     [sic] the community where O‘Connor lived by forwarding it to
     Defendant Don Mench.
Complaint, p. 8, ¶ 46


            [On December 2, 2009] Hewitt advised O‘Connor that [Steve]
     Hanschka had determined that O‘Connor could not get approval of his
     application without obtaining a Letter of Map Approval (―LOMA‖) from
     FEMA [Federal Emergency Management Agency] and therefore
     Hanschka had given Hewitt a LOMA Letter of Map Approval
     application form to deliver to O‘Connor. Because this was a new
     requirement Hewitt told O‘Connor that the plaintiffs must extend the
     time the County had to make a decision if plaintiffs wanted to get the
     LOMA [Letter of Map Approval] survey worked completed, otherwise
     plaintiffs‘‘ application would expire and they would have to pay all the
     fines at $3500 per day per lot since the first day of beginning
     construction of the revetment. Because of this threat, on December 2,
     2009, O‘Connor signed an extension and agreed to obtain the LOMA
     [Letter of Map Amendment].
Complaint, p. 9, ¶ 46

      [O]n the night of December 2, 2009, at 7:18 pm, Hanschka emailed
      O‘Connor advising him that he had gotten the wrong form from
      Hewitt, and that O‘Connor needed a different, and more complex form.
      Hanschka provided the form to O‘Connor and falsely advised O‘Connor
      that the County was under significant pressure from FEMA [Federal
      Emergency Management Agency] for the revetment work. Hanschka
      also stated that the County might find that Firwood Design Group did
      not have the qualifications to process a LOMA [Letter of Map
      Amendment] and suggested other companies for O‘Connor to use.

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Complaint, p. 9, ¶ 46

            On February 16, 2010, Hanschka refused O‘Connor‘s request
     that he sign the LOMA [Letter of Map Amendment] application as
     requested by FEMA [Federal Emergency Management Agency].
     Because the LOMA [Letter of Map Amendment] could not be processed
     without the acknowledgement, Hanschka‘s refusal effectively
     prevented plaintiffs from complying with the requirements imposed
     upon plaintiffs by defendants in December, 2009, to submit a LOMA
     [Letter of Map Amendment] application.
Complaint, p. 11, ¶ 53.

            On March 8, 2010, O‘Connor again contacted Hanschka and
     requested unsuccessfully that Hanschka sign the Community
     Acknowledgment form.
Complaint, p. 11, ¶ 55

            On March 12, 2010 FEMA [Federal Emergency Management
     Agency] again requested that O‘Connor submit a signed Community
     Acknowledgement form. Because of Hanschka‘s refusal to sign this
     document, plaintiffs were unable to submit it with the LOMA [Letter
     of Mar Amendment] application.
Complaint, p. 11 - 12, ¶ 56

            On March 30, 2010, O‘Connor again asked Hanschka to sign the
     FEMA [Federal Emergency Management Agency] form so that
     plaintiffs could complete the LOMA [Letter of Map Amendment]
     application. Hanschka refused.
Complaint, p. 13, ¶ 59

            Plaintiffs are informed and believe that defendants‘
     requirement that plaintiffs‘ complete a LOMA [Letter of Map
     Amendment] application was a sham, and that defendants did not
     intend to permit plaintiffs to complete the application or obtain
     approval from FEMA [Federal Emergency Management Agency].
Complaint, p. 13, ¶ 60

      These factual allegations in the Complaint fail to link the conduct of Mr.

Hanschka to any conduct that would even suggest a violation of rights secured to

any of the Plaintiffs by any provision of the U.S. Constitution or federal law.

Notwithstanding its breadth, 42 U.S.C. § 1983 does not provide a mechanism for the

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redress of state torts, nor are the guarantees provided by the United States

Constitution coextensive with the protections provided to citizens by state tort laws.

Baker v. McCollan, 443 U.S. 137, 99 S. Ct. 2689 (1979).

      Indeed it is simply impossible to determine how any of Mr. Hanschka‘s

alleged acts bear any relationship to Claim One, Two or Three of the Plaintiffs‘

Complaint.

                            Claim One sets forth the following:

        (Fourteenth Amendment – Violation of Substantive and Procedural
                                Due Process)

            Defendants actions in denying and delaying permits, issuing
    citations, conducting hearings and otherwise refusing to permit
    plaintiffs to conduct legal activities were arbitrary and capricious and
    in violation of fundamental concepts of due process. Defendants‘
    actions did not substantially advance any governmental purpose.
Complaint, p. 16, ¶ 77


                            Claim Two sets forth the following:

             (Violation of 42 U.S.C. 1983 – First Amendment Retaliation)

            As alleged above, defendants retaliated against plaintiffs for
     exercising First Amendment Rights.
Complaint, p. 17, ¶ 83

            Defendants‘ actions were in violation of Plaintiffs‘ First
     Amendment Rights, in particular freedom of speech and the right to
     petition the government for redress of grievances as applied to the
     states through the Fourteenth Amendment.
Complaint, p. 17, ¶ 84

                        Claim Three sets forth the following:

           (Violation of 42 U.S.C. 1983 – Fourteenth Amendment – Equal
                                     Protection)


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            Defendants treated plaintiffs differently from other land owners,
     developers and contractors in violation of the equal protection
     guaranteed by the Fourteenth Amendment by taking retaliatory action
     against then as alleged in the Second Claim, by denting and delaying
     permits to them or their businesses, by issuing numerous non-
     meritorious citations against them or their businesses, by conducting
     sham administrative hearings and by issuing illegal orders which were
     based in fact or law.
Complaint, p. 18, ¶ 90

            Defendants‘ actions were irrational and arbitrary and were
     motivated by animosity, ill will and vindictiveness against plaintiffs for
     having exercised their First Amendment Rights, as alleged in the
     Second Claim.
Complaint, p. 18, ¶ 90 (misnumbered in Complaint)


      What the Plaintiffs present as an articulation of their claims for relief are

nothing more than labels and conclusions; naked assertions devoid of further

factual enhancement; and formulaic recitations of the elements of a cause of action.

The Supreme Court has expressly held in Twombly, supra and Iqbal, supra. that

such pleadings fail to satisfy the requirements of Fed.R.Civ.P. 8(a)(2) and warrant

the dismissal of such a Complaint pursuant to Fed.R.Civ.P. 12(b)(6).

             A pleading that offers "labels and conclusions" or "a formulaic
      recitation of the elements of a cause of action will not do." 550 U.S., at
      555, 127 S. Ct. 1955, 167 L. Ed. 2d 929. Nor does a complaint suffice if
      it tenders "naked assertion[s]" devoid of "further factual
      enhancement." Id., at 557, 127 S. Ct. 1955, 167 L. Ed. 2d 929. . . . .

      [O]nly a complaint that states a plausible claim for relief
      survives a motion to dismiss. Id. [Twombly], at 556, 127 S.Ct.
      1955. Determining whether a complaint states a plausible claim for
      relief will, as the Court of Appeals observed, be a context-specific task
      that requires the reviewing court to draw on its judicial experience and
      common sense. 490 F.3d at 157-158. But where the well-pleaded
      facts do not permit the court to infer more than the mere
      possibility of misconduct, the complaint has alleged-but it has
      not „show[n]‟-„that the pleader is entitled to relief.‟

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Iqbal, supra, 556 U.S. at 883 - 884. Emphasis added.

      As noted the factual allegations of the Complaint do not even present the

mere possibility of misconduct by Mr. Hanschka that is subject to remedy in a suit

under 42 U.S.C. § 1983. Again referencing Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct.

1937 (2009):

      Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain
      a "short and plain statement of the claim showing that the pleader is
      entitled to relief." As the Court held in Twombly, 550 U.S. 544, 127 S.
      Ct. 1955, 167 L. Ed. 2d 929, the pleading standard Rule 8 announces
      does not require "detailed factual allegations," but it demands more
      than an unadorned, the-defendant-unlawfully-harmed-me accusation.
      Id., at 555, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (citing Papasan v.
      Allain, 478 U.S. 265, 286, 106 S. Ct. 2932, 92 L. Ed. 2d 209 (1986)).

Iqbal, supra, 556 U.S. at 883.

      In Smith v. C.M.F. State Prison, No. CIV S-10-2562 KJM P, 2010 WL

4817513 (E.D. Cal. 2010) the District Court was called upon to examine the

sufficiency of a claim under Fed.R.Civ.P. 12(b)(6).

      To proceed with a civil rights action, plaintiff must connect
      named defendants clearly with the claimed denial of his rights.
      Farmer v. Brennan, 511 U.S. 825, 837, 843, 114 S.Ct. 1970, 128
      L.Ed.2d 811 (1994) (official's liability for deliberate indifference
      requires that official know of and disregard an ‗excessive risk‘);
      Johnson v. Duffy, 588 F.3d 740, 743-44 (9th Cir.1978) (discussing
      ‗requisite causal connection‘ in section 1983 cases between named
      defendant and claimed injury). The complaint does not connect
      [Steve Hanschka] with the claimed violation of rights.
      Dismissal is warranted under Rule 12(b)(6) where the
      complaint lacks a cognizable legal theory or where the
      complaint presents a cognizable legal theory yet fails to plead
      essential facts under that theory. Robertson v. Dean Witter
      Reynolds, Inc., 749 F.2d 530, 534 (9th Cir.1984).

2010 WL 4817513 at *2. Emphasis added.

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      Based upon the above authorities, Steve Hanschka moves for the dismissal of

the Plaintiffs‘ Complaint against him. As to Steve Hanschka the Complaint is, in

all aspects, ―unreasonable, frivolous, meritless or vexatious‖ such that Steve

Hanschka is entitled, under 42 U.S.C. § 1988(b), to an award of the attorneys‘ fees

incurred in the defense of this portion of the Plaintiffs‘ lawsuit. Vernon v. City of

Los Angeles, 27 F.3d 1385, 1402 (9th Cir.1994), cert. denied, 513 U.S. 1000, 115

S.Ct. 510 (1994).

      Further, Steve Hanschka asks that this Court exercise its discretion and

refuse to grant the Plaintiffs leave to amend their Complaint as to him.

      Normally, when a viable case may be pled, a district court should
      freely grant leave to amend. Lipton v. Pathogenesis Corp., 284 F.3d
      1027, 1039 (9th Cir. 2002). However, "liberality in granting leave to
      amend is subject to several limitations." Ascon Props., Inc. v. Mobil Oil
      Co., 866 F.2d 1149, 1160 (9th Cir. 1989) (citing DCD Programs, Ltd. v.
      Leighton, 833 F.2d 183, 186 (9th Cir. 1987)). Those limitations include
      undue prejudice to the opposing party, bad faith by the movant,
      futility, and undue delay. Id.

Cafasso, U.S. ex rel. v. General Dynamics C4 Systems, Inc., 637 F.3d 1047, 1058 -

1059 (9th Cir. 2011).

   7) The failure of the Plaintiffs to comply with the pleading standards of
      Fed.R.Civ.P 8(a)(2), as well as the applicable statute of limitations,
      requires the dismissal of Kim Benthin, one of the individual County
      defendants in this case, pursuant to Fed.R.Civ.P 12(b)6).

      On October 27, 2011, the Complaint in this matter was filed in the U.S.

District Court for the District of Oregon. In Claims One, Two and Three of the

Complaint the Plaintiffs assert an entitlement to recovery from Kim Benthin under

42 U.S.C. § 1983. The statute of limitations for Oregon actions brought under 42


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U.S.C. § 1983 is two years. Plumeau v. Sch. Dist. # 40 County of Yamhill, 130 F.3d

432, 438 (9th Cir.1997). All acts occurring prior to October 27, 2009, are outside of

the statute of limitations and not subject to recovery under 42 U.S.C. § 1983.

      As to Ms. Benthin, the Plaintiffs set forth the following facts and events

occurring outside the statute of limitations upon which they base their claims for

recovery under 42 U.S.C. § 1983:

           On July 20, 2009, defendant Benthin, notified Lifestyle
    Ventures, LLC [a nonparty] that the revetment work was a potential
    violation of the Clackamas County Code. Benthin requested that
    complete Flood Plain [sic] Development Permit (―FDP‖) and PRCA
    [Principal River Conservation Area] permits be submitted by Aug 20,
    2009.
Complaint, p. 6, ¶ 31

           On July 22, 2009, without permission of the plaintiffs,
    Clackamas County employees trespassed upon lots 4200 – 4400 [lots
    4200 and 4300 are owned by a nonparty, Lifestyle Ventures, LLC.
    Complaint, p. 4, ¶ 23] and took pictures of the property.
 Complaint, p. 6, ¶ 32

           On July 30, 2009, Benthin sent letters to Lifestyle [Ventures,
    LLC a nonparty] and Lisa Konell which stated that O‘Connor had
    violated the County Code by construction of the revetment, demanded
    that the FDP [Flood plain Development Plan] and PRCA [Principal
    River Conservation Area] permits be completed by August 20, 2009,
    and threatened legal action and civil penalties of $3500 per day.
 Complaint, p. 6, ¶ 34

            On or about September 9, 2009, Benthin notified Mr. O‘Connor
     and Konell that they were illegally operating a construction business
Complaint, p. 7, ¶ 40


      Further, the Plaintiffs‘ claims that reference facts and events occurring

within the applicable statute of limitations are to be dismissed under Fed.R.Civ.P.

12(b)(6) as a consequence the Plaintiffs failure to comply with the essential and

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                                                                                  30
most basic pleading requirements when recovery is sought from a state actor or an

individual acting under color of law pursuant to 42 U.S.C. § 1983.

      As set out in the Plaintiffs‘ Complaint the remaining factual allegations as to

the conduct of Kim Benthin, which the Plaintiffs assert constitute a cognizable

claim under 42 U.S.C. § 1983, are as follows:

            On October 27, 2009, Benthin, mailed two citations to Lifestyle
     Ventures, [LLC a nonparty] for properties [it owned, Lots 4200 and
     4300] and one to Konell for property [she owned, lot 4400], for failure
     to complete the application for the FDP [Floodplain Development
     Plan]. The citation imposed forfeitures of $100 and threatened
     penalties of $3500 for each property. As noted above, on that date, the
     statutory deadline to complete the application was February 13, 2010.
Complaint, p. 7, ¶ 42.

            A Floodplain Development Plan permit has not been obtained
     for work done on the lots owned by Lifestyle Ventures, LLC. Or Lisa
     Konell.
Complaint, pp. 13 – 14, ¶ 63

            On November 25, 2009, Benthin contacted Firwood Design
     Group to discuss topographical and site conditions at lots 4200 – 4400.
     [Lots 4200 and 4300 are owned by Lifestyle Ventures, LLC, a
     nonparty. Complaint, p. 4, ¶ 23] Firwood advised Benthin that
     plaintiffs have [sic] met BFE [Base Flood Elevation] requirements.
Complaint, p. 8, ¶ 45

            On February 3, 2020, and in spite of O‘Connor‘s signing the
     extension of time to complete the applications, the payment of the $100
     forfeiture fees, which is for the expressed purpose of avoiding
     additional fines, the statuary [sic] 180 day time period to complete the
     permit and the fact that Clackamas County FDP [Floodplain
     Development Plan] regulations did not require an FDP [Floodplain
     Development Plan] prior to performing Emergency Work, Benthin
     requested a code violation hearing with substantial fines based on the
     failure of O‘Connor to complete the application by October 26, 2011,
     and for performing Emergency Work without an FDP [Floodplain
     Development Plan].
Complaint, p. 10, ¶ 50


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           On February 12, 2010, Lifestyle Ventures [LLC a nonparty]
    requested that the hearing on the code violation be set over due to the
    extension on the application and until the processing of the LOMA
    [Letter of Map Amendment] application had been completed. Benthin
    opposed this extension . . . ―
Complaint, p. 11, ¶ 52.

            On February 23, 2010, the Code violation hearing was held. The
    issue, as stated in the Notice, was the failure of plaintiffs to submit
    land use applications. Evidence at the hearing indicated that the
    applications had been submitted and were complete. Benthin falsely
    testified at the hearing that O‘Connor had over 13 similar code
    violations for illegal work on the river. The hearing was recorded by
    audio equipment pursuant to County Code Ordinances.
Complaint, p. 11, ¶ 54

            On March 30, 2010, Benthin, based on a complaint filed by Don
     Mench and the CPO, served Lifestyle [Ventures, LLC a nonparty] two
     separate code violations for the two homes owned by Lifestyle
     [Ventures, LLC a nonparty] directly don river from Lots 4200 – 4400.
     These homes were built by Big Mountain.
Complaint, p. 13, ¶ 61

     Plaintiffs are informed and believe that the audio record of the hearing
     of February 23 has been completely lost or destroyed by defendants.
Complaint, p. 14, ¶ 67

            Thereafter [subsequent to March 17, 2010] and in violation of
     County Ordinances, County Hearings Officer Rules and the terms of
     the standing order, Benthin manipulated the hearings records further
     to violate and prevent O‘Connor to seek redress from the circuit court.
Complaint, p. 12, ¶ 57

            On December 14, 2010, Benthin issued a code violation to
     O‘Connor and Konell that they were using residential property for
     commercial purposes. Benthin had no meritorious basis to issue the
     notice of the violations.
Complaint, p. 14, ¶ 68


             On December 22, 2010, and March 9, 2011, Benthin, issued code
      violations to Fred Accuardi for his subdivision which Big Mountain had
      developed. Benthin had no meritorious basis to issue the notice of
      these violations.

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                                                                                32
Complaint, p. 15, ¶ 69

            There is no allegation that any structure in Fred Accuardi‘s
     subdivision is located on any of the lots referenced in the Complaint.
Complaint, passim

            There is no allegation that any structure in Fred Accuardi‘s
     subdivision is owned by any of the plaintiffs in this action.
Complaint, passim

            On March 22 2011, Benthin, issued a code violation to O‘Connor
     and Konell for unlawful business activities at a residential site. There
     is no basis for this code violation. Plaintiffs are informed and believe
     that the code violation was issued after, and because of, O‘Connor‘s
     questioning of Benthin about the above two alleged code violations.
Complaint, p. 15, ¶ 71


            In or about September, 2011, Benthin, issued a notice of possible
     code violations to individuals identified as Terry and George Skorich
     for their failure to obtain a Principal River Conservation Area permit.
Complaint, p. 15, ¶ 73

            There is no allegation that either Terry or George Skorich has
     any legal interest in any of the lots referenced in the Complaint.
Complaint, passim

            The plaintiff Big Mountain Co. performed the work on the
     referenced property that may have been in violation of the Clackamas
     County Code.
Complaint, p. 15, ¶ 73.

      These factual allegations in the Complaint fail to link the conduct of Ms.

Benthin to any conduct that would even suggest a violation of rights secured to any

of the Plaintiffs by any provision of the U.S. Constitution or federal law.

Notwithstanding its breadth, 42 U.S.C. § 1983 does not provide a mechanism for the

redress of state torts, nor are the guarantees provided by the United States




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Constitution coextensive with the protections provided to citizens by state tort laws.

Baker v. McCollan, 443 U.S. 137, 99 S. Ct. 2689 (1979).

      The factual allegations of the Complaint do not even present the mere

possibility of misconduct by Ms. Benthin that is subject to remedy in a suit under 42

U.S.C. § 1983. Again referencing Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937

(2009):

      Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain
      a "short and plain statement of the claim showing that the pleader is
      entitled to relief." As the Court held in Twombly, 550 U.S. 544, 127 S.
      Ct. 1955, 167 L. Ed. 2d 929, the pleading standard Rule 8
      announces does not require "detailed factual allegations," but it
      demands more than an unadorned, the-defendant-unlawfully-
      harmed-me accusation. Id., at 555, 127 S. Ct. 1955, 167 L. Ed. 2d
      929 (citing Papasan v. Allain, 478 U.S. 265, 286, 106 S. Ct. 2932, 92 L.
      Ed. 2d 209 (1986)).

Iqbal, supra, 556 U.S. at 883.


      Indeed it is simply impossible to determine how any of Ms. Benthin‘s alleged

acts bear any relationship to Claim One, Two or Three of the Plaintiffs‘ Complaint.

                            Claim One sets forth the following:

          (Fourteenth Amendment – Violation of Substantive and Procedural
                                  Due Process)

            Defendants actions in denying and delaying permits, issuing
    citations, conducting hearings and otherwise refusing to permit
    plaintiffs to conduct legal activities were arbitrary and capricious and
    in violation of fundamental concepts of due process. Defendants‘
    actions did not substantially advance any governmental purpose.
Complaint, p. 16, ¶ 77


                            Claim Two sets forth the following:


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            (Violation of 42 U.S.C. 1983 – First Amendment Retaliation)

            As alleged above, defendants retaliated against plaintiffs for
     exercising First Amendment Rights.
Complaint, p. 17, ¶ 83

            Defendants‘ actions were in violation of Plaintiffs‘ First
     Amendment Rights, in particular freedom of speech and the right to
     petition the government for redress of grievances as applied to the
     states through the Fourteenth Amendment.
Complaint, p. 17, ¶ 84

                        Claim Three sets forth the following:

          (Violation of 42 U.S.C. 1983 – Fourteenth Amendment – Equal
                                    Protection)

            Defendants treated plaintiffs differently from other land owners,
     developers and contractors in violation of the equal protection
     guaranteed by the Fourteenth Amendment by taking retaliatory action
     against then as alleged in the Second Claim, by denting and delaying
     permits to them or their businesses, by issuing numerous non-
     meritorious citations against them or their businesses, by conducting
     sham administrative hearings and by issuing illegal orders which were
     based in fact or law.
Complaint, p. 18, ¶ 90

            Defendants‘ actions were irrational and arbitrary and were
     motivated by animosity, ill will and vindictiveness against plaintiffs for
     having exercised their First Amendment Rights, as alleged in the
     Second Claim.
Complaint, p. 18, ¶ 90 (misnumbered in Complaint)



      Further, what the Plaintiffs present as an articulation of their claims for

relief are nothing more than labels and conclusions; naked assertions devoid of

further factual enhancement; and formulaic recitations of the elements of a cause of

action. The Supreme Court has expressly held in Twombly, supra and Iqbal, supra.



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that such pleadings fail to satisfy the requirements of Fed.R.Civ.P. 8(a)(2) and

warrant the dismissal of such a Complaint pursuant to Fed.R.Civ.P. 12(b)(6).

             A pleading that offers "labels and conclusions" or "a formulaic
      recitation of the elements of a cause of action will not do." 550 U.S., at
      555, 127 S. Ct. 1955, 167 L. Ed. 2d 929. Nor does a complaint suffice if
      it tenders "naked assertion[s]" devoid of "further factual
      enhancement." Id., at 557, 127 S. Ct. 1955, 167 L. Ed. 2d 929. . . . .

      [O]nly a complaint that states a plausible claim for relief
      survives a motion to dismiss. Id. [Twombly], at 556, 127 S.Ct.
      1955. Determining whether a complaint states a plausible claim for
      relief will, as the Court of Appeals observed, be a context-specific task
      that requires the reviewing court to draw on its judicial experience and
      common sense. 490 F.3d at 157-158. But where the well-pleaded
      facts do not permit the court to infer more than the mere
      possibility of misconduct, the complaint has alleged-but it has
      not „show[n]‟-„that the pleader is entitled to relief.‟

Iqbal, supra, 556 U.S. at 883 - 884. Emphasis added.

      In Smith v. C.M.F. State Prison, No. CIV S-10-2562 KJM P, 2010 WL

4817513 (E.D. Cal. 2010) the District Court was called upon to examine the

sufficiency of a claim under Fed.R.Civ.P. 12(b)(6).

      To proceed with a civil rights action, plaintiff must connect
      named defendants clearly with the claimed denial of his rights.
      Farmer v. Brennan, 511 U.S. 825, 837, 843, 114 S.Ct. 1970, 128
      L.Ed.2d 811 (1994) (official's liability for deliberate indifference
      requires that official know of and disregard an ‗excessive risk‘);
      Johnson v. Duffy, 588 F.3d 740, 743-44 (9th Cir.1978) (discussing
      ‗requisite causal connection‘ in section 1983 cases between named
      defendant and claimed injury). The complaint does not connect
      [Kim Benthin] with the claimed violation of rights. Dismissal
      is warranted under Rule 12(b)(6) where the complaint lacks a
      cognizable legal theory or where the complaint presents a
      cognizable legal theory yet fails to plead essential facts under
      that theory. Robertson v. Dean Witter Reynolds, Inc., 749 F.2d 530,
      534 (9th Cir.1984).

2010 WL 4817513 at *2. Emphasis added.

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      Based upon the above authorities, Kim Benthin moves for the dismissal of

the Plaintiffs‘ Complaint against her. As to Kim Benthin the Complaint is, in all

aspects, ―unreasonable, frivolous, meritless or vexatious‖ such that Kim Benthin is

entitled, under 42 U.S.C. § 1988(b), to an award of the attorneys‘ fees incurred in

the defense of this portion of the Plaintiffs‘ lawsuit. Vernon v. City of Los Angeles,

27 F.3d 1385, 1402 (9th Cir.1994), cert. denied, 513 U.S. 1000, 115 S.Ct. 510 (1994).

      Further, Kim Benthin asks that this Court exercise its discretion and refuse

to grant the Plaintiffs leave to amend their Complaint as to her.

      Normally, when a viable case may be pled, a district court should
      freely grant leave to amend. Lipton v. Pathogenesis Corp., 284 F.3d
      1027, 1039 (9th Cir. 2002). However, "liberality in granting leave to
      amend is subject to several limitations." Ascon Props., Inc. v. Mobil Oil
      Co., 866 F.2d 1149, 1160 (9th Cir. 1989) (citing DCD Programs, Ltd. v.
      Leighton, 833 F.2d 183, 186 (9th Cir. 1987)). Those limitations include
      undue prejudice to the opposing party, bad faith by the movant,
      futility, and undue delay. Id.

Cafasso, U.S. ex rel. v. General Dynamics C4 Systems, Inc., 637 F.3d 1047, 1058 -

1059 (9th Cir. 2011).

   8) Claim One of the Plaintiffs‟ Complaint fails to set forth either a
      cognizable substantive due process or procedural due process claim
      under the Fourteenth Amendment and is to be dismissed in its
      entirety.

      A review of the Plaintiffs‘ Complaint reveals the following factual assertions

which appear to be in support of Claim One of the Plaintiffs‘ Complaint:

           On August 11, 2009, Mr. O‘Connor submitted a Floodplain
     Development Plan and a plan for development within a Principal River
     Conservation Area to Clackamas County.
Complaint, p. 6, ¶ 35



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           On January 12, 2010, Mr. O‘Connor‘s plan for development
     within a Principal River Conservation Area was approved, contingent
     upon completion of the Floodplain Development Plan.
Complaint, p. 10, ¶ 49

           On May 19, 2010, Mr. O‘Connor received Clackamas County‘s
     denial of his Floodplain Development Plan. Mr. O‘Connor asserts that
     the decision was based upon fabricated and inaccurate information.
Complaint, pp. 13 – 14, ¶ 63

      In Claim One of their Complaint the Plaintiffs seek redress for the decisions

of Clackamas County regarding Mr. O‘Connor‘s Floodplain Development Plan.

Claim One sets forth the following:

        (Fourteenth Amendment – Violation of Substantive and Procedural
                                Due Process)

            Defendants actions in denying and delaying permits, issuing
    citations, conducting hearings and otherwise refusing to permit
    plaintiffs to conduct legal activities were arbitrary and capricious and
    in violation of fundamental concepts of due process. Defendants‘
    actions did not substantially advance any governmental purpose.
Complaint, p. 16, ¶ 77

      At the time relevant to the referenced application, review and denial of the

Floodplain Development Plan the procedures for such actions were provided for in

the Clackamas County Zoning and Development Ordinance.               Although the

Clackamas County Zoning and Development Ordinance sets forth certain necessary

conditions for what must be included in an application for a Floodplain

Development Permit, Section 703.09 A, the approval of a Floodplain Development

Plan was and is discretionary, Section 703.09 C:


      Approval Criteria: The Planning Director may approve an FDP
      [Floodplain Development Plan], pursuant to Subsection 1305.02, if the
      applicant provides evidence substantiating the following:

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      1. All necessary permits have been obtained from those federal, state,
      or local governmental agencies from which prior approval is required.
      2. If the proposed development is in the floodway, the standards of
      Subsection 703.07 have been met.
      3. If the proposed development includes alteration of a watercourse,
      maintenance will be provided within the altered or relocated portion of
      said watercourse so that the flood carrying capacity is not diminished.
      4. The proposed development will comply with the applicable
      provisions of Subsections 703.10 and 703.11.

      As relevant here the above referenced Section 1305.02 provides as
      follows:

      1305.02 PLANNING DIRECTOR REVIEW

      A. Administrative actions that require Planning Director review shall
      be subject to the following provisions. However, an applicant for an
      administrative action that is subject to Planning Director review may
      request that such administrative action be heard directly by the
      Hearings Officer pursuant to Sections 1301 through 1304.

      E. The Planning Director may approve the application as submitted,
      approve the application with conditions, or deny the application.
      The Planning Director shall prepare written findings justifying the
      decision
      Subsection G provides for appeals of an adverse decision

      As discussed below, in light of the discretion vested in the Planning Director

as to the approval or disapproval of a Flood Plan Development Plan, the Plaintiffs

fail to state a claim that they have been deprived of either substantive or procedural

due process as provided for by the Fourteenth Amendment. Claim One is to be

dismissed pursuant to Fed.R.Civ.P. 12(b)(6).

      In City of Cuyahoga Falls, Ohio, et ail v. Buckeye Community Hope

Foundation, et al., 538 U.S. 188, 123 S. Ct. 1389 (2003) the United States Supreme

Court explored claims involving allegations that in violation of the Fourteenth

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Amendment‘s due process clause a proposed low-income housing development had

been rejected by the voters of Cuyahoga Falls. The Court rejected the petitioners‘

claims. In a concurring opinion Justice Scalia, joined by Justice Thomas set forth

the following succinct analysis of the issues present when it is asserted that a party

has been denied either substantive or procedural process.            Because the claim

brought by the Plaintiffs here asserts such violations within the context of a local

government‘s permitting policies Justice Scalia‘s concurring opinion is particularly

instructive here:

      I write separately to observe that, even if there had been arbitrary
      government conduct, that would not have established the substantive-
      due-process violation that respondents claim.

             It would be absurd to think that all "arbitrary and capricious"
      government action violates substantive due process -- even, for
      example, the arbitrary and capricious cancellation of a public
      employee's parking privileges. The judicially created substantive
      component of the Due Process Clause protects, we have said, certain
      "fundamental liberty interests" from deprivation by the government,
      unless the infringement is narrowly tailored to serve a compelling
      state interest. Washington v. Glucksberg, 521 U.S. 702, 721, 138 L. Ed.
      2d 772, 117 S. Ct. 2258, 117 S. Ct. 2302 (1997). Freedom from delay in
      receiving a building permit is not among these "fundamental liberty
      interests." To the contrary, the Takings Clause allows government
      confiscation of private property so long as it is taken for a public use
      and just compensation is paid; mere regulation of land use need not be
      "narrowly tailored" to effectuate a "compelling state interest." Those
      who claim "arbitrary" deprivations of nonfundamental liberty interests
      must look to the Equal Protection Clause, and Graham v. Connor, 490
      U.S. 386, 395, 104 L. Ed. 2d 443, 109 S. Ct. 1865 (1989), precludes the
      use of "'substantive due process'" analysis when a more specific
      constitutional provision governs.

             As for respondents' assertion that referendums may not be used
      to decide whether low-income housing may be built on their land: that
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      is not a substantive-due-process claim, but rather a challenge to the
      procedures by which respondents were deprived of their alleged liberty
      interest in building on their land. There is nothing procedurally
      defective about conditioning the right to build low-income housing on
      the outcome of a popular referendum, cf. James v. Valtierra, 402 U.S.
      137, 28 L. Ed. 2d 678, 91 S. Ct. 1331 (1971), and the delay in issuing
      the permit was prescribed by a duly enacted provision of the Cuyahoga
      Falls City Charter (Art. 9, § 2), which surely constitutes "due process of
      law," see Connecticut Dept. of Public Safety v. Doe, ante, p. (SCALIA,
      J., concurring).

             With these observations, I join the Court's opinion.

Buckeye Community Hope Foundation, supra, 538 U.S. at 200 – 201.

      To establish a violation of substantive due process, a plaintiff must first

establish the existence of a constitutionally-protected property or liberty interest.

Thus, before the Plaintiffs can establish a violation of substantive due process they

must demonstrate that they had a property interest in the development of the tax

lots at issue here. To do this, the Plaintiffs must set forth in their pleadings facts

supporting a claim that Clackamas County, acting through its Planning

Department and Director did not have the discretion to deny the Plaintiffs the

development of the tax lots at issue here if they complied with certain minimum,

mandatory requirements.      However, if Clackamas County, acting through its

Planning Department and Director had the discretion to deny the Plaintiffs‘

Floodplain Development Plan even if they complied with certain minimum,

mandatory requirements, then the Plaintiffs would not have a "legitimate claim of

entitlement" or a "justifiable expectation" in the approval of the Floodplain

Development Plan. That being the case the Plaintiffs, therefore, would have no

property right.
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      Thus in Gerhart v. Lake County Montana, 637 F.3d 1013 (9th Cir 2011) cert

denied Gerhart v. Lake County, 181 L. Ed. 2d 143, 2011 U.S. Lexis 5784 (2011) the

Ninth Circuit held as follows:

      we have held that state law creates a "legitimate claim of entitlement"
      when it "imposes significant limitations on the discretion of the
      decision maker." Braswell, 622 F.3d at 1102 (internal quotation marks
      and alterations omitted). For example, we have held that such an
      entitlement to a government permit exists when a state law or
      regulation requires that the permit be issued once certain
      requirements are satisfied. See, e.g., Groten, 251 F.3d at 850 (holding
      that a protected property right to a license existed where both federal
      and state law entitled the applicant to a license whenever certain
      statutory requirements were met); Bateson v. Geisse, 857 F.2d 1300,
      1303 (9th Cir. 1988) (holding that a builder had a property interest in
      a building permit where city regulations provided that once an
      applicant met certain requirements, a permit must be issued).

             Here, Montana law does not impose any limitations on the
      Commissioners' discretion to permit approaches to county roads.
      Instead, Montana Code Annotated section 7-14-2102 simply provides,
      "[e]ach board of county commissioners may in its discretion do
      whatever may be necessary for the best interest of the county roads
      and the road districts." Clearly, state law does not constrain the
      Commissioners' discretion to grant or deny approach permit
      applications.

Gerhart, supra, 637 F.3d at 1019 – 1020.

      The Ninth Circuit‘s opinion in Doyle v. City of Medford, 606 F.3d 667, 673

(9TH Cir 2010) is to the same effect:

      "Only if the governing statute compels a result upon compliance with
      certain criteria, none of which involve[s] the exercise of discretion by the
      reviewing body, does it create a constitutionally protected property
      interest." Shanks, 540 F.3d at 1091 (internal quotation marks omitted)
      (emphasis added). Thus, a statute does not create a property right if it
      allows the decision-making body discretion to add an additional


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       criterion, Thornton v. City of St. Helens, 425 F.3d 1158, 1165-66 (9th
       Cir. 2005), or to define its own criteria, Shanks, 540 F.3d at 1091.

 Doyle, supra, 606 F.3d at 675.

       Moreover, the absence of a property right in the approval of the Floodplain

Development Plan serves to defeat the Plaintiffs‘ claim that they have suffered a

violation of their rights to procedural due process.


       Klamath also asserts a procedural due process claim based upon three
       grounds: first, that City Council meetings on the subject of its vacation
       application were held in secret; second, that the decisionmakers had a
       pecuniary interest in the well sites; and third, that there were no
       standards articulated in advance to guide the City in its decision on
       the application. Before Klamath can prevail on these claims, however,
       it must demonstrate the threshold requirement of a constitutionally
       cognizable right. Because the requirements of procedural due process
       apply only to the deprivation of interests encompassed by the
       fourteenth amendment's protection of liberty and property, Board of
       Regents v. Roth, 408 U.S. 564, 569, 33 L. Ed. 2d 548, 92 S. Ct. 2701
       (1972), we must determine whether Klamath, as a vacation petitioner,
       had such an interest protected by the due process clause. No liberty
       interest is claimed. A property interest in a benefit protected by the
       due process clause results from a "legitimate claim of entitlement"
       created and defined by an independent source, such as state or federal
       law. Id. at 577; Bishop v. Wood, 426 U.S. 341, 344 & n.7, 48 L. Ed. 2d
       684, 96 S. Ct. 2074 (1976).

Parks v. Watson, 716 F.2d 646, 655 – 656 (9th Cir. 1982)

       Here the applicable provisions of the Clackamas County Zoning and

Development Ordinance confer the Planning Director with discretion as to the

approval of Floodplain Development Plans. Under settled law,, the Plaintiffs have

neither a substantive nor a procedural due process claim. Their claim is to be

dismissed under Fed.R.Civ.P. 12(b)(6).         Moreover, this Court should exercise its

discretion and refuse to grant the Plaintiffs leave to amend their Complaint

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      Normally, when a viable case may be pled, a district court should
      freely grant leave to amend. Lipton v. Pathogenesis Corp., 284 F.3d
      1027, 1039 (9th Cir. 2002). However, "liberality in granting leave to
      amend is subject to several limitations." Ascon Props., Inc. v. Mobil Oil
      Co., 866 F.2d 1149, 1160 (9th Cir. 1989) (citing DCD Programs, Ltd. v.
      Leighton, 833 F.2d 183, 186 (9th Cir. 1987)). Those limitations include
      undue prejudice to the opposing party, bad faith by the movant,
      futility, and undue delay. Id.

Cafasso, U.S. ex rel. v. General Dynamics C4 Systems, Inc., 637 F.3d 1047, 1058 -

1059 (9th Cir. 2011). Any amendment here would be futile.

   9) Claim Two of the Plaintiffs‟ Complaint fails to set forth a cognizable
      retaliation claim under the First Amendment and is to be dismissed
      in its entirety.

   A review of the Plaintiffs‘ Complaint reveals the following factual assertions

which appear to be in support of Claim Two of the Plaintiffs‘ Complaint:

            On Nov 14, 2009, O‘Connor testified as an expert witness in a
     civil action in Circuit Court in Clackamas County. O‘Connor testified
     that Clackamas County is inefficient in taking care of the flooding
     problems and had allowed an improper revetment structure to be
     constructed on the Sandy River which caused Jim and Amy Monroe to
     lose their home. Subsequently, O‘Connor began writing news articles
     documenting and criticizing Clackamas County‘s poor management,
     lack of common sense, violation of Flood Plain laws and ordinances,
     and an inadequate understanding of the flooding problems in the Mt.
     Hood area and how to properly address them.
Complaint, p. 8, ¶ 44

            On December 22, 2010, and March 9, 2011, [Ms.] Benthin issued
     code violations to Fred Accuardi for his subdivision which Big
     Mountain had developed. [Ms.] Benthin had no meritorious basis to
     issue the notice of these violations.
Complaint, p. 15, ¶ 69

            On March 22, 2011, O‘Connor met with County building officials
      who agreed there was no violation at Fred Accuardi‘s subdivision, and
      they forwarded [Ms.] Benthin written notice of this fact at that time.
      Notwithstanding this information, Benthin scheduled Mr. Accuardi‘s


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     complaint for a hearing wherein she is seeking substantial fines from
     Big Mountain and O‘Connor.
Complaint, p. 15, ¶ 70

            On March 22, 2011, [Ms.] Benthin issued a code violation to
     O‘Connor and Konell for unlawful business activities at a residential
     site. There is no basis for this code violation. Plaintiffs are informed
     and believe that the code violation was issued after, and because of,
     O‘Connor‘s questioning of [Ms.] Benthin about the above two alleged
     code violations.
Complaint, p. 15, ¶ 71

                              Claim Two sets forth following:

           (Violation of 42 U.S.C. 1983 – First Amendment Retaliation)

            As alleged above, defendants retaliated against plaintiffs for
     exercising First Amendment Rights.
Complaint, p. 17, ¶ 83

            Defendants‘ actions were in violation of Plaintiffs‘ First
     Amendment Rights, in particular freedom of speech and the right to
     petition the government for redress of grievances as applied to the
     states through the Fourteenth Amendment.
Complaint, p. 17, ¶ 84


      In assessing the sufficiency of the Plaintiffs‘ pleading under Fed.R.Civ.P.

12(b)(6) Clackamas County and the individual County defendants again direct this

Court‘s attention to Twombly, supra and Iqbal, supra. As held in Iqbal, supra:

      [O]nly a complaint that states a plausible claim for relief
      survives a motion to dismiss. Id. [Twombly], at 556, 127 S.Ct.
      1955. Determining whether a complaint states a plausible claim for
      relief will, as the Court of Appeals observed, be a context-specific task
      that requires the reviewing court to draw on its judicial experience and
      common sense. 490 F.3d at 157-158. But where the well-pleaded
      facts do not permit the court to infer more than the mere
      possibility of misconduct, the complaint has alleged-but it has
      not „show[n]‟-„that the pleader is entitled to relief.‟

Iqbal, 556 U.S. at 883 - 884. Emphasis added.

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      In Hightower v. Schwarzenegger, No. 1:04-cv-06028-OWW-SMS (PC), 2010

WL 3463853 at *8 (E.D. Cal. 2010), emphasis added, the District Court stated as

follows:

      To survive a motion to dismiss, [and thus also to state a
      cognizable] [sic] a complaint must contain sufficient factual
      matter, accepted as true, to „state a claim to relief that is
      plausible on its face.‘ . . . A claim has facial plausibility when the
      plaintiff pleads factual content that allows the court to draw the
      reasonable inference that the defendant is liable for the misconduct
      alleged. . . . The plausibility standard is not akin to a
      „probability requirement,‟ but it asks for more than a sheer
      possibility that a defendant has acted unlawfully. Where a
      complaint pleads facts that are „merely consistent with‟ a
      defendant's liability, it “stops short of the line between
      possibility and plausibility of „entitlement to relief.‘ ‖ Iqbal, 129
      S.Ct. at 1949 (citations omitted).

      Here the Plaintiffs‘ claim of retaliation never advances beyond the mere

possibility of misconduct.     Indeed as to Complaint, p. 8, ¶ 44, discussing Mr.

O‘Connor‘s exercise of his speech rights, there are not even any facts alleged that

anyone in a position to retaliate against Mr. O‘Connor heard or read his remarks.

      Further, as to the Plaintiffs‘ claim that retaliation explains the code violation

issued by Kim Benthin on March 22, 2011, asserting that Mr. O‘Connor and Ms.

Konell were operating an unlawful business at a residential site, Complaint p. 15,

¶71, this is the same conduct for which Kim Benthin issued a code violation to Mr.

O‘Connor and Ms. Konell on December 14, 2010, Complaint, p. 14, ¶ 68, well before

Mr. O‘Connor questioned Ms. Benthin about the code violations she issued on

December 22, 2010 and March 9, 2011. Complaint p. 15, ¶ 69. That being the case,

the Plaintiffs‘‘ claim of retaliation moves from implausible to unfounded.


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       Claim Two and its related allegations stop well short of the line between

possibility and a plausible showing of an entitlement to relief. That being the case,

Claim Two of the Plaintiffs‘ Complaint is to be dismissed pursuant to Fed.R.Civ.P.

12(b)(6).

       Further, in this instance this Court should exercise its discretion and refuse

to allow an amendment of the Complaint ―lest a plaintiff with 'a largely groundless

claim' be allowed to 'take up the time of a number of other people, with the right to

do so representing an in terrorem increment of the settlement value.‘ ‖ Twombly,

supra, 550 U.S. at 558.

 10)        Claim Three of the Plaintiffs‟ Complaint fails to set forth a
            cognizable “class of one” equal protection claim under the
            Fourteenth Amendment and is to be dismissed in its entirety.

       A review of the Plaintiffs‘ Complaint fails to reveal which of the Plaintiffs‘

factual assertions are meant to support Claim Three of the Plaintiffs‘ Complaint.

Rather, the Plaintiffs have eschewed the presentation of factual allegations and

relied upon naked assertions.      In presenting his class of one equal protection

argument Mr. O‘Connor fails to point to a single instance persons similarly situated

in all relevant respects' were treated differently. Rather Mr. O‘Connor sets forth his

claim as follows:

            (Violation of 42 U.S.C. 1983 – Fourteenth Amendment – Equal
                                      Protection)

             Defendants treated plaintiffs differently from other land owners,
       developers and contractors in violation of the equal protection
       guaranteed by the Fourteenth Amendment by taking retaliatory action
       against then as alleged in the Second Claim, by denting and delaying
       permits to them or their businesses, by issuing numerous non-

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     meritorious citations against them or their businesses, by conducting
     sham administrative hearings and by issuing illegal orders which were
     based in fact or law.
Complaint, p. 18, ¶ 90

     Defendants‘ actions were irrational and arbitrary and were motivated
     by animosity, ill will and vindictiveness against plaintiffs for having
     exercised their First Amendment Rights, as alleged in the Second
     Claim.
Complaint, p. 18, ¶ 90 (misnumbered in Complaint)


      Although the United States Supreme Court has recognized the propriety of

"class of one" equal protection claims, ―where the plaintiff alleges that [he] has been

intentionally treated differently from others similarly situated and that there is no

rational basis for the difference in treatment", Village of Willowbrook v. Olech, 528

U.S. 562, 564, 120 S. Ct. 1073 (2000), the viability of such a claim depends upon a

showing that the plaintiff was intentionally treated differently than others

similarly situated.   Here there is no claim or evidence of any specific instances

involving similarly situated individuals -- that is, individuals who similar to Mr.

O‘Connor, who were treated differently than Mr. O‘Connor.

      In order to claim a violation of equal protection in a class of one case,
      the plaintiff must establish that the City intentionally, and without
      rational basis, treated the plaintiff differently from others similarly
      situated. See id.; accord Squaw Valley Dev. Co. v. Goldberg, 375 F.3d
      936, 944 (9th Cir. 2004), overruled on other grounds, Action Apt. Ass'n
      v. Santa Monica Rent Control Opinion Bd., 509 F.3d 1020, 1025 (9th
      Cir. 2007). A class of one plaintiff must show that the discriminatory
      treatment "was intentionally directed just at him, as opposed . . . to
      being an accident or a random act." Jackson v. Burke, 256 F.3d 93, 96
      (2d Cir. 2001).

N. Pacifica LLC v. City of Pacifica, 526 F.3d 478, 486 (2008)



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       The necessity of Mr. O‘Connor distinguishing himself and his treatment from

other similarly situated individuals, is made clear by reference to Ruff v. County of

Kings, No. CV-F-05-631 OWW/GSA, 2008 U.S. Dist. LEXIS 82659 (ED Cal. Sept.

17, 2008). A plaintiff claiming an equal protection violation must ―identify and

relate specific instances where persons similarly situated 'in all relevant respects'

were treated differently, . . . instances which have the capacity to demonstrate that

[plaintiff was] ‗singled . . . out for unlawful oppression.' . . .‖ Ruff, supra, 2008 U.S.

Dist. LEXIS 82659, * 77 (ED Cal. Sept. 17, 2008) quoting Dartmouth Review v.

Dartmouth Coll., 889 F.2d 13, 19 (1st Cir. 1989), overruled on other grounds by

Educadores Puertorriqueos en Accion v. Hernandez, 367 F.3d 61 (1st Cir. 2004).

       Moreover, the sufficiency of a Plaintiff‘s class of one equal protection claim is

appropriately addressed as a pleading matter. See: Simon v. City of Phoenix, 436

Fed. Appx. 756, 2011 U.S. App. LEXIS 11653 (9th Cir. May 24, 2011) affirming the

dismissal of a plaintiff‘s class of one equal protection claim pursuant to Fed.R.Civ.P.

12(b)(6).

       As set out above, numerous times, the controlling law as to the sufficiency of

pleadings under Fed.R.Civ.P. 8(a)(2) and Fed.R.Civ.P. 12(b)(6) is as follows:

       While a complaint attacked by a Rule 12(b)(6) motion to dismiss does
       not need detailed factual allegations, ibid.; Sanjuan v. American Bd. of
       Psychiatry and Neurology, Inc., 40 F.3d 247, 251 (CA7 1994), a
       plaintiff's obligation to provide the "grounds" of his
       "entitle[ment] to relief" requires more than labels and
       conclusions, and a formulaic recitation of the elements of a
       cause of action will not do, see Papasan v. Allain, 478 U.S. 265,
       286, 106 S. Ct. 2932, 92 L. Ed. 2d 209 (1986) (on a motion to dismiss,
       courts "are not bound to accept as true a legal conclusion couched as a
       factual allegation"). Factual allegations must be enough to raise a right

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      to relief above the speculative level, see 5 C. Wright & A. Miller,
      Federal Practice and Procedure § 1216, pp 235-236 (3d ed. 2004)
      (hereinafter Wright & Miller) ("[T]he pleading must contain
      something more . . . than . . . a statement of facts that merely
      creates a suspicion [of] a legally cognizable right of action"), on
      the assumption that all the allegations in the complaint are
      true (even if doubtful in fact), see, e.g., Swierkiewicz v. Sorema N.
      A., 534 U.S. 506, 508, n. 1, 122 S. Ct. 992, 152 L. Ed. 2d 1 (2002); . . .

Twombly, supra, 550 U.S. at 555. Emphasis added. Footnote omitted.

      The Plaintiffs‘ class of one equal protection claim fails to satisfy the above

legal requirements. It is to be dismissed under Fed.R.Civ.P. 12(b)(6). It is to be

noted that in affirming the value of dismissal under Fed.R.Civ.P. 12(b)(6) when a

court is faced with a pleading that fails to satisfy the requirements of Fed.R.Civ.P.

8(a)(2) the Twombly Court offered the following:

      We alluded to the practical significance of the Rule 8 entitlement
      requirement in Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 125 S. Ct.
      1627, 161 L. Ed. 2d 577 (2005), when we explained that something
      beyond the mere possibility of loss causation must be alleged,
      lest a plaintiff with "'a largely groundless claim'" be allowed to
      "'take up the time of a number of other people, with the right to
      do so representing an in terrorem increment of the settlement
      value.'" Id., at 347, 125 S. Ct. 1627, 161 L. Ed. 2d 577 (quoting Blue
      Chip Stamps v. Manor Drug Stores, 421 U.S. 723, 741, 95 S. Ct. 1917,
      44 L. Ed. 2d 539 (1975)). So, when the allegations in a complaint,
      however true, could not raise a claim of entitlement to relief, "'this
      basic deficiency should . . . be exposed at the point of minimum
      expenditure of time and money by the parties and the court.'"
      5 Wright & Miller § 1216, at 233-234 (quoting Daves v. Hawaiian
      Dredging Co., 114 F. Supp. 643, 645 (Haw. 1953)); . . .

Twombly, supra, 550 U.S. at 557 – 558. Emphasis added.

      In this instance this Court should exercise its discretion and refuse to

allow an amendment of the Complaint ―lest a plaintiff with 'a largely

groundless claim' be allowed to 'take up the time of a number of other people,

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with the right to do so representing an in terrorem increment of the

settlement value.‘ ‖ Twombly, supra, 550 U.S. at 558.

   11)     Kip O‟Connor is to be removed from the Complaint as a party
      Plaintiff in that he is not the real party in interest as to any of the
      properties that are asserted to have suffered injury.

      To state a claim under 42 U.S.C. § 1983, a plaintiff must satisfy two

elements; he must allege violation of rights secured by the Constitution and laws of

the United States, and he must show a person acting under color of law committed

the alleged deprivation. West v. Atkins, 487 U.S. 42, 101 L. Ed. 2d 40, 108 S. Ct.

2250 (1988). Mr. O‘Connor has failed to do so.

      The subject of this Complaint is the degree to which, and under what

conditions, lots 4200, 4300 or 4400 of the Liberty Lodge Subdivision may be

developed. The following facts relevant to these lots are drawn from the Complaint:

            At all times material to the Complaint neither Kip O‘Connor nor
     Big Mountain Co., plaintiffs herein, owned lots 4200, 4300 or 4400
     Liberty Lodge Subdivision.
Complaint p 4 ¶ 23

            At all times material to the Complaint two of the lots, 4200 and
     4300 Liberty Lodge Subdivision were not owned by any of the plaintiffs
     and were owned by an entity other than the plaintiffs.
Complaint, p. 4, ¶ 23.

            At all times material to the Complaint lots 4200 and 4300 were
     owned by Lifestyle Ventures.
Complaint, p. 4, ¶ 23

           Lifestyle Ventures, LLC is an Oregon limited liability company.
Complaint, p. 2, ¶2

            At all material times Lot 4400 Liberty Lodge Subdivision was
     owned by Lisa Konell, a plaintiff herein.
Complaint, p. 4, ¶ 23

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             Under Federal Rule of Civil Procedure 17(a), An action must be
      prosecuted in the name of the real party in interest." Fed. R. Civ. P.
      17(a). The real party in interest rule allows a federal court to
      entertain a suit at the insistence of any party to whom the relevant
      substantive law grants a cause of action. U-Haul Int'l, Inc. v. Jartran,
      Inc., 793 F.2d 1034, 1038 (9th Cir. 1986). Thus, the real party in
      interest is the person who has the right to sue under the substantive
      law, rather than others who may merely be interested in or benefit
      from the litigation.

Kraft et al v. Arden, et al., CV. 07-487-PK, 2008 U.S. Dist. LEXIS 91001, at * 17 –

18 (U.S.D.C. Or. Nov. 7, 2008)

      To the degree that any limitations imposed on the development of lots 4200,

4300 or 4400 of Liberty Lodge Subdivision cause cognizable legal injury, the injury

is suffered by the owners of the lots. As to the development rights held by the

owners of lots 4200, 4300 or 4400 of Liberty Lodge Subdivision Kip O‘Connor is a

stranger, he has no basis to assert either the existent of such rights or their

impairment by any governmental action. Mr. O‘Connor is simply one who may

merely be interested in or benefit from the litigation. Indeed, it is not without

significance that the owner of lots 4200 and 4300 in the Liberty Lodge Subdivision,

Lifestyle Ventures, LLC is not a party to this lawsuit.



                                  CONCLUSION

      Based upon the arguments and authorities set forth above, Clackamas

County and the individual County Defendants ask that this Court enter its ORDER:

   1) Granting the Motion to Dismiss filed on behalf of Clackamas County and the

      individual County Defendants;
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2) Dismissing with prejudice each of the claims presented against Clackamas

   County and the individual County Defendants;

3) Awarding Clackamas County and the individual County Defendants those

   attorney‘s fees to which it is entitled under 42 U.S.C. § 1988(b) in the defense

   of Claims One, Two and Three as set forth in the Plaintiffs‘ Complaint;

4) Awarding Clackamas County and the individual County Defendants those

   costs and reimbursements to which it is entitled as the prevailing party; and

5) Granting Clackamas County and the individual County Defendants such

   further relief as is just.




   Respectfully submitted this 24th day of January, 2012.




                                                     CLACKAMAS COUNTY COUNSEL



                                 ___________________________________
                                 Stephen L. Madkour, OSB No. 941091
                            County Counsel ,Clackamas County, Oregon
                                                  /s/ Alexander Gordon
                                   Alexander Gordon, OSB No. 822671
                                   E-mail: agordon@co.clackamas.or.us
       OF ATTORNEYS FOR DEFENDANT CLACKAMAS COUNTY AND THE
                              INDIVIDUAL COUNTY DEFENDANTS.




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                                           CERTIFICATE OF SERVICE

     I hereby certify that I have served the foregoing MEMORANDUM OF LAW
IN SUPPORT OF MOTION TO DISMISS PURSUANT TO FED.R.CIV.P. 12(b)(6)
AND THE OREGON TORT CLAIMS ACT FILED ON BEHALF OF CLACKAMAS
COUNTY, MICHAEL MCCALLISTER, GARY HEWITT, STEVE HANSCHKA,
AND KIM BENTHIN on:

Mark E. Griffin
Griffin & McCandlish
1631 NE Broadway, #721
Portland, Oregon 97232

      and

Daniel J. Rohlf
Pacific Environmental Advocacy Center
10015 SW Terwilliger Blvd.
Portland, Oregon 97219-7768

      [X]    by MAILING a full, true and correct copy thereof in a sealed, postage-
paid envelope, addressed as shown above, and deposited with the U.S. Postal
Service at Portland, Oregon, on the date set forth below;

        []    by EMAILING a full, true and correct copy thereof to the party, at the
email address shown above, which is the last-known email address for the party‘s
office, on the date set forth below.

      []      by FAXING a full, true and correct copy thereof to the party, at the fax
number shown above, which is the last-known fax number for the party‘s office, on
the date set forth below.

Dated this 24th day of January, 2012.


                                                   CLACKAMAS COUNTY COUNSEL


                                                   /s/ Anja Mundy
                                                   Anja Mundy, Legal Assistant
                            CLACKAMAS COUNTY COUNSEL
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